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            Exhibit 8
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            Exhibit A
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June 9, 2023

Mr. Steve Art
Ms. Megan Pierce
Law Office of Loevy & Loevy
311 North Aberdeen Street
3rd Floor
Chicago, IL 60607

Re: Savory v et al.,
Re: Report of Findings, Forensic DNA


Documents Reviewed

Police notes from police department crime lab file
       “Yellow Notes”; Peoria_Savory 1870-1871
       “White Notes’; Peoria_Savory 1873-1882
       “Walt Note”; Peoria_Savory 1872

Bureau of Identification, M77-197, Report Date January 27, 1977
      Peoria_Savory 1971

Bureau of Identification, M77-197, Report Date February 22, 1977
      Peoria_Savory 1550

Bureau of Identification, M77-197, Report Date March 17, 1977
      Peoria_Savory 1928-1935

Illinois State Police, Division of Forensic Services, Morton, Report date January 17, 2014
        Peoria_Savory 1923-1927

Illinois State Police, Division of Forensic Services, Morton, Report date March 20, 2014
        Peoria_Savory 1918-1921



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State Police, Division of Forensic Services, Morton, Report date May 30, 2014
       Peoria_Savory 1910-1912

Illinois State Police, Division of Forensic Services, Morton, Report date August 18, 2014,
Supplemental           Peoria_Savory 11615-11616

Illinois State Police, Division of Forensic Services, Morton, Report date October 1, 2018,
        Savory-LL- 009887 – 009889

Illinois State Police, Division of Forensic Services, Morton, Report date October 3, 2018,
        Peoria_Savory 12380 – 12388

Illinois State Police, Division of Forensic Services, Morton, Report date November 29,
2018, Peoria_Savory 12704– 12705

Crime Scene Photos

Peoria Police Department Reports Related to the Crime Scene, Evidence Collection, and
Autopsy
       Supplementary Report, Peoria Police Dept., Peoria_Savory 84-86
       Supplementary Report, Peoria Police Dept., Peoria_Savory 916-925

Declaration of Judith Eckstein (formerly Kienzler)
      Savory -LL 10565 - 10585

Evidence Receipt, Bureau of Identification, Peoria_Savory 12940

Subpoena Response to Gottfried, SAVORY-LL-006772 - 006792

Discovery Deposition, Robert Gonsowski, SAVORY-LL-002917-002931

McGrath Affidavit, SAVORY-LL-010549 – 010551




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Forensic DNA / Forensic Biology Findings
Two (2) rounds of forensic DNA / forensic biology testing were performed in this case.
A first round of testing and analysis ca., 1977 and a second round of analysis begun ca.
2013.

Forensic Testing, Analysis and Reporting, ca. 1977
The initial round of testing used methods, techniques, procedures and reagents that
were in force at that time. It should be noted that the analysis carried out was decades
prior to the current DNA-based identity testing approach although many of the forensic
biology techniques used ca. 1977 are largely unchanged even now, i.e., the
determination of the possible presence of blood, seminal fluid and sperm. However,
the methods used to determine genetic identity have completely changed.

Also different are the specific documentation and recording expectations of the forensic
laboratory where current standards demand better and more detailed documentation of
the reagents, methods and kits used in the laboratory.

It should be fully understood, however, that the expectation of correct, thorough and
preserved documentation that records the complete details of who, what, when and
how have always been vital to forensic testing – then, and now.

In this case, from the materials that have been provided, it appears that many (if not
most) of the work sheets, work notes from the Bureau of Investigation pertaining to the
laboratory testing and results, are now missing / lost and unavailable for inspection
and review.

There is of course no way to examine documents that are lost or unavailable. It is
unusual, and a breach of procedure, that a forensic discovery packet would be lacking
documentation of the work performed in the laboratory.

It is my understanding that the items listed as ‘Notes’ are not laboratory-derived
documentation but are notes from the Peoria police department’s files and represent
notes made during discussions of the laboratory testing and results during the
investigation of the case.

Reports and crime scene photos state that the victim was found in a nightgown and
underwear. Only the female victim had defensive wounds on her hands; fingernail



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scrapings were taken only from the female victim. The autopsy report documents a
cutting wound through the genitals of the female victim and the collection of a ‘white
substance’ from her vagina. This sample was transferred eventually to the Bureau of
Investigation.

The March 17, 1977 BOI report states conclusions contradicting the police notes
apparently taken during the time the crime was being investigated.

These police notes describe, at best, mixed results of the testing for the presence of
seminal fluid and sperm cells, though the precise sample(s) being discussed are not
entirely clear. The inference of sexual assault correlated with the homicide is clear.

Specifically: “Sperm - slight positive’ (poss false pos) [sic.] 1st time neg, 2nd pos. (no
sperm but pos seminal)” was recorded on the first line of the provided yellow police
notes. The provided “WALT” police notes also mention “sperm.” The provided white
police notes, dated February 4, 1977, describe “vaginal swabs - slight pos – her blood
type only A. Not a quick reaction feeling that it was there before attack.”

These observations provide quite a different perspective on the analysis of the vaginal
swabs than what is presented in the March 17, 1977 BOI report or described by the
medical examiner at trial.

Certainly the possible ambiguity and mixed results that were actually obtained
regarding the screening for sperm cells, as opposed to the apparently definitive
statement that there was no sperm as listed in the report, would have been legitimate
argument/discussion by the defense at Mr. Savory’s trial.

The yellow notes begin with the word “sperm” and another note, with a one word
notation of “sperm” and a phone number could indicate that the results of
microscopical sperm searching were positive. This conclusion is possibly repeated in
the white notes where “a slight pos” was recorded with no specification of whether that
was for sperm, seminal fluid, or both.

The prominence and repeated notation of ‘sperm’ in the notes imply the investigators’
interest and the importance of determining if a sexual assault was compounded with
the homicidal assault: was sperm present in the vagina of the female victim? Was the
semen indicative of a prior contact or linked to the homicide?



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All three notes demonstrate considerable ambiguity in contrast to the unequivocal
conclusions stated in the report. If the notes had been made available to the defense at
the time of trial, they would certainly have provided foundation for cross examination.

The March 17, 1977 BOI report also describes hair analysis/examination as an approach
for trying to determine identity. Using visual hair examination for individual
identification has been discredited for decades; the comments referring to hair
comparisons for identity lack scientific validity and are neither reliable nor probative to
identifying Mr. Savory (or anyone else).

Police reports also indicated that there were hairs found in the hands of the victims.
The March 7, 1977 BOI report stated that these hairs had been collected and sent to the
BOI analyst and that they were not similar in color or characteristics to Mr. Savory’s
hair. The white police notes stated that both sets of hairs (items 31 and 69) were “fine”
hairs. This information about the class characteristics of the hairs may have been helpful
to the defense.

The general prohibition to using individual hair analysis extends to the reported
statements for hair included in item 37 and 70 (hairs in sink and bathtub).

The forensic screening / testing used at the time of trial used a presumptive chemical-
based test for the putative identification of blood. Technically these tests are based on a
chemical change (oxidation) in an indicator molecule (phenophthalein) which turns
from colorless to pink. The presence of iron-bound heme (which is a component of
blood) and hydrogen peroxide (an exogenously added chemical) with the indicator will
produce a color change, as will many other oxidative compounds (that are not blood).
The test is not specific (i.e., other sources can and do produce the same color change in
the indicator molecule) and technically this method does not directly test for the
presence of blood.

The sample in question, item 44, is described in the BOI report as ‘’indicates the
presence of blood”. However, the yellow police notes, in a repeat of the issues with the
vaginal swabs, actually contradicts this description and records “Neg for blood” with
an accompanying “two spots slight reaction if blood was present” (in what is
apparently different handwriting), a decidedly different conclusion than was written in
the BOI report. The white police notes state, “#44 knife something slight little possible –



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general reaction.” The white police notes, without question, are far more ambiguous
than the BOI report and the yellow police notes would support a negative conclusion as
to the presence of blood on the pocket knife purportedly from Mr. Savory.

As this item, #44, was declared the possible murder weapon, and was presented as such
at the trial, the discrepancy of the notes in comparison with the BOI report paragraph
would certainly have been under intense questioning by the defense. The opportunity
to refute a foundational item of evidence of the prosecution’s case could hardly have
been ignored.

The importance of this item of evidence in the prosecution’s theory of the case is clear;
also clear are the exaggerated and inaccurate statements made in regard to the forensic
testing of the knife. The test used is at best a presumptive screening test and in no way
‘identifies’ blood; at most a positive Kastle-Meyer test might indicate the possible
presence of blood. One should also note that no test is 100% accurate, ever, and such a
statement in a legal proceeding is biased overreach and tellingly inappropriate even
coming from someone with limited scientific training.

Considering the bloody and violent crime scene, the supposed murder weapon
(assuming that such a folding knife could even have inflicted the observed wounds on
the two victims) would have been covered in blood and yet only two ‘spots’ may have
tested positive.

The examination of the supposed murder weapon (knife) during the evidence
inspection and an examination of the same (or very similar) model knife reveals that (1)
there is no blade locking mechanism, (2) that there is plenty of space between the
linings for blood to have been collected, (3) that the gap between the spring mechanism
and linings provides an additional area for blood to collect, (4) that there is a nail
mark/notch which provides yet another area for blood to seep into and yet only two (2)
possible spots may have tested positive from a non-specific presumptive chemical test
for blood.

The crime scene photos support the in person observation of the evidence (conducted
on January 25th, 2023 at the Peoria Police Dept.) that if this model knife had been the
weapon used in the assault, it would have been covered in blood, would have certainly
folded closed at some point during the assault and that all cracks, gaps, spaces and




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notches would have been prime locations to collect and retain blood of the victims had
this item been in fact used in the assault.

Certainly, the forensic evidence testing ca. 1977 does not provide physical findings that
would support the purported use of this folding pocket knife as the murder weapon.

The yellow police notes also state for item 7 “Cooper on Robinson’s underwear.” This
observation, victim Cooper’s blood found on victim Robinson’s underwear implicates
the order of the assault; Ms. Cooper was assaulted first and Robinson second. This
information was apparently not provided to the defense.

The handwritten police notes and the March 17, 1977 BOI report are also inconsistent as
to the testing of the blue pants, item 59, where “one small area R pocket by belt, A,
blood human” is recorded in the white notes. The BOI report states, “Chemical and
serological testing of this item indicated the presence of group A human blood.” The
written report does not accurately reflect the actual results, at least as recorded in the
white police note; where the blood was supposedly found; and that it was only one
small area.

At issue, and certainly the principal reason for attempting to obtain red blood cell
antigen data (i.e., blood group information) from the evidence samples is the underlying
assumption that identifying the blood group is somehow a probative link to identifying
the victim on the clothing of Mr. Savory.

The fact is that blood typing (A, B, O, red blood cell antigen typing) is completely
incapable of providing sufficient discriminatory power for even suggesting that identity
could be hinted at, let alone deduced, from such an analysis. The blood group typing
process does not even provide the sex of the source – approximately forty percent (40%)
of the population has type A blood. Put another way, more than a third (1/3) of the
entire U.S. population would be included in the analysis conducted on the spots on the
blue pants.
It is ludicrous for suggesting that the spot is somehow linked to the victims.

The attempt to connect the pants, item 59, to the crime is also important as the forensic
testing performed prior to the interrogation of Mr. Savory on January 26, 1977, had
already determined that the blue cap, blue jean jacket, sweatshirt, and maroon pants




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that he was wearing during that day were all negative for blood. In fact, testing of a
small red stain on Mr. Savory’s ball cap determined that the stain was candy, not blood.

Forensic Testing, Analysis and Reporting, beginning in ca. 2014
Best practice for storing forensic DNA evidence is simple: evidence should be stored
away from sunlight, at ambient temperature, dry and in containers/wrappers that do
not trap humidity (typically paper or Tyvek® materials, bags or wrapping). These
conditions/requirements apply to fabric, collection swabs and physical items. Liquid
samples (which are rare in forensic practice) are typically ‘converted’ to swabs (i.e.,
swabs dipped in the liquid, allowed to dry and stored dry away from heat, humidity
and light) or stored frozen.

From the court ordered observation of the physical evidence performed at the Peoria
Police Department, the conditions for appropriate and secure storage of evidence were
met.

The forensic DNA results and conclusions from the post-conviction DNA testing, ca.
2014 through 2018 can be summarized: Mr. Savory is excluded as a contributor to every
tested item where a DNA profile was obtained. His DNA is not present on the items
processed for DNA profiling.

Specifically,
item 15, edge of light switch cover – mixed sample, Mr. Savory excluded as a
contributor to both the major and the minor contributor,
item 1, vaginal swabs, differential extraction fractions F1, F2 and F3 – Mr. Savory
excluded as a contributor by Y-STR profiling,
item 15, collection from edge of light switch cover, Mr. Savory excluded as a
contributor,
item 3, underwear worn by C. Cooper, sperm identified, no link to the Mr. Savory,
item 1B, blood like stain, front of robe, left side, between buttons – Mr. Savory excluded
as contributor,
item 1C, blood like stain from front left sleeve, Mr. Savory excluded as contributor,
item 1D, blood like stain from left sleeve, Mr. Savory excluded as contributor,
item 1E, blood like stain from right sleeve, Mr. Savory excluded as contributor,
item 1F, blood like stain from right sleeve, Mr. Savory excluded as contributor,
item 1H, blood like stain from back bottom hem of robe, Mr. Savory excluded as
contributor,



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item 4A, blood like stain from armpit area, near trim, Mr. Savory excluded as
contributor,
item 4B, blood indicated stain from sleeve area, Mr. Savory excluded as contributor,
item 7A, blood indicated stain from lower back inside panel, J. Robinson, Mr. Savory
excluded as contributor,
item 7C, blood like streaks from back of underwear, J. Robinson, Mr. Savory excluded
as contributor,
item 9A, blood indicated stain from fitted sheet, Mr. Savory excluded as contributor,
item 9B, blood like stain from fitted sheet, Mr. Savory excluded as contributor,
item 9D, blood indicated stain from fitted sheet, Mr. Savory excluded as contributor,
item 10A, – blood like stain from flat sheet, one extra allele (otherwise known as a drop-
in), Mr. Savory excluded as contributor,
items 10B, and 10C no DNA profiles
item 10D, blood like stain from flat sheet, Mr. Savory excluded as contributor,
item 10E, blood like stain from flat sheet, Mr. Savory excluded as contributor,
item 10F, blood like stain from flat sheet, Mr. Savory excluded as contributor,
item 12A, blood indicated stain from pillowcase, Mr. Savory excluded as contributor,
item 13A, blood like stains from corner of pillowcase, Mr. Savory excluded as
contributor,
item 3A F1 fraction, Mr. Savory excluded as contributor,
item 9F, F1 fraction, major and minor contributors, Mr. Savory excluded, possible link
to minor contributor to item 10 who is not excluded as the major contributor to item 9F;
item 9G, F1 fraction: not suitable for comparison; F3 fraction, Mr. Savory excluded
item 10G, F1 fraction: cherry picked three loci where half the population cannot be
excluded – put another way, meaningless for identity,
item 10H, F1 fraction deemed not suitable for comparison; F3 fraction Mr. Savory
excluded from both major and minor contributors,
item 11A, F1 fraction: at least four contributors, deemed not suitable for comparison; F2
fraction, Mr. Savory is excluded; F3 fraction one allele was identified – ludicrous for
identity.
Insufficient male DNA for autosomal profiling: items 9C, 9E, item 3A (F2 and F3), 9F (F2
and F3), 10G (F2 and F3), 9G (F2) and 10G (F2).

The list of items tested is considerable and reflects a concerted effort to try and identify
an assailant who might have injured himself during the assault, i.e., the justification for
collecting and testing more than twenty (20) purported items of blood-like evidence.




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       While Mr. Savory is excluded from each and every one of these samples (his
DNA is not present on any of the tested items) a DNA profile foreign to the victims and
not from Mr. Savory was identified on item 7, back panel of underwear from J.
Robinson (minor profile from a three contributor sample).

A keyboard DNA database search was apparently conducted with this deduced minor
profile and three (3) similar profiles were identified in the Illinois State DNA database.

These three ‘hits’ are investigatory leads, cannot be considered definitive without
further testing and confirmation, but are without question more probative to
identifying the assailant than the complete lack of the DNA of Mr. Savory on every
tested item.

Another item thought to be probative to Mr. Savory’s involvement includes the light
switch (the defendant is excluded) – his DNA is not present on this item.

The vaginal swab from the decedent was analyzed using Y-STR profiling; here the
genetics of the Y sex chromosome are probed using a commercial kit specific for this
purpose. The Y sex chromosome is only present in males.

This sample was processed using the laboratory technique of differential extraction
which was developed to yield two (sometimes three) fractions from the original single
(one) item of evidence. Results from a differential extraction do not indicate the
biological source of the DNA that could be revealed but it can be noted that sperm cells
are by far the richest source of DNA in semen (semen = seminal fluid + sperm).

A fraction, F1, designed to be enriched in the DNA of the female victim, a fraction F2,
designed to be enriched in the DNA from the assailant’s sperm cells and a third
fraction, F3 (sometimes called the mixed fraction), that analyzes the DNA remaining on
the collection swab, i.e., where no effort to enrich the proportion of the purported
contributors has been made.
       Profile 1A1AF1 – three (3) identified loci (SDT-ISP 174) – Mr. Savory excluded by
the findings at DYS576, DYS393
       Profile 1A1AF2 – no identified alleles
       Profile 1A1AF3 – three identified alleles, Mr. Savory excluded by the findings at
DYS576 and DYS570.




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The Y-STR results from item 1, vaginal swab, are partial (by definition incomplete) but
there is no objective reason why ISP would interpret item 1AF3 (and correctly exclude
Mr. Savory) and basically ‘punt’ on the analysis of 1AF1. This sample also revealed a
low level partial Y-STR profile with three (3) loci (and three alleles) and again, Mr.
Savory is excluded as a contributor.

It can be concluded, therefore, that the Y-STR analysis of the differential extraction
fractions of the vaginal swab of the victim excludes Mr. Savory.

       The clear presence of male DNA in this sample (item 1, vaginal swab) strongly
re-opens the issue of sexual contact within the homicidal assault – the obvious
questions of sexual contact prior?, during?, motive for? come immediately to mind. The
Y-STR data demands that the question of ‘who is this male?’, be answered. What is
known is that it is not Mr. Savory.

There was also the identification of sperm on the female victim’s underwear, item 3A.
This sample was apparently processed by differential extraction and the F1 fraction
profiled – the victim was identified. The F2 fraction was declared not suitable for
autosomal profiling and while Y-STR profiling of this sample was mentioned as an
option it does not appear that this sample was processed further.

Thus, there is no genetic identity information in regard to the male who left semen on
the victim’s underwear.

The blue pants, item 59, was also subject to testing in the later round of forensic DNA
analysis.

Areas tested include the waist band (item 59A), area around an apparent burn hole
(item 59B), stain from the right pocket (59C), stained area inside back (item 59D), and a
cutting from the belt loop adjacent to the right pocket (item 59E). Testing for blood on
this item was negative in this second round of evidence screening. This contradiction
with the initial screening ca. 1977 was not explained or commented on in any of the
provided materials.

The DNA profile analysis of these samples from the pants did not reveal the profiles of
either victim – another clear failure to ratify the (unproven) assumption that the
observed stains have any bearing on the assault.



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Items 59C (stain from right pocket) and 59D (stained area from inside back) failed to
provide a DNA profile. Put another way these data (or more precisely the lack of
profile DNA) are consistent with the failure to identify blood on this item of evidence.
The lack of blood identification and lack of DNA profile data flatly contradict the
assumption the stains are in any way (directly or indirectly) connected to the assault.

Certainly, the assumption that the (doubtful) murder weapon transferred the blood of
one of the victims to the fabric of the pants, is not supported by the actual physical
evidence.

The laboratory analyst in 2014 stated that, along with the hairs from the victim’s hands,
the cutting from the pants that was tested in 1977 that supposedly indicated blood
could not be located, and as mentioned above, testing from around the belt loop
adjacent to the right pocket in 2014, as well as testing from inside the pocket where the
knife was supposedly placed without any washing, did not indicate any blood in either
area.

Item 59B (area around apparent burn hole) produced a mixed DNA profile that ISP
declined to analyze further – again, a failure of the physical evidence to link Mr.
Savory’s clothing to the assault or to the victims.

Thus, there is a total lack of any link to the victims from the analysis of the pants – no
blood, no DNA profiles, no physical findings, no forensic results of any kind that link
Mr. Savory to an extraordinarily violent and bloody crime scene.

The knife, item 44, which was claimed to be the murder weapon, did not provide a
DNA profile in support of this contention. The more recent round of forensic DNA
testing did not analyze this item for body fluid identification but did attempt to process
the collection from two (2) small stains for DNA profiling.

No DNA profile was obtained from item 44A, stain on blade, and no ISP reportable
profile was obtained from the handle (item 44B). Given that blood is a very rich source
of DNA, the lack of physical findings that link this item to the assault (i.e., no DNA from
the defendant, no DNA from the victims) do not support the contention that this
folding knife was involved in the assault but rather calls for the conclusion that this
knife was not used in the assault.



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        None of the reviewed laboratory reports or remaining police notes conclusively
state or record that blood was identified on the knife. This observation is consistent
with the lack of reportable DNA profiles from this item. The yellow police note actually
states for item 44, “Neg for blood”.

       This result is all but impossible to explain considering the type, and violence, of
the assault that included multiple significant and life ending cutting injuries to both
victims.

Having viewed the actual physical evidence in this case , can attest to the volume of
blood on the bed spread (not to mention the volume of blood on the carpet as shown in
the crime scene photos). Having reviewed the descriptions of the injuries to the
decedents, many, deep and on both muscle and bone, it is again almost impossible to
explain how a small folding pocket knife could
       (i) have inflicted such injuries without folding closed on the hand of the assailant
       and
       (ii) have remained pristine with no blood and no DNA of the victims detected by
       a very sensitive (but non-specific) forensic chemical test and by a much more
       specific and very sensitive genetic identity testing regiment (PCR-based DNA
       profiling).

Additional items tested by forensic DNA processing include
item 21A, fingernail scrapings from the female victim; here Y-STR analysis produced no
identified alleles and thus no link to the defendant;
item 22A, fingernail scrapings from the female victim, here Y-STR analysis produced no
identified alleles and thus no link to the defendant.

This case presents several ‘lost’ or misplaced or never found items of evidence. This
includes one of the cuttings from the pants and hairs (described as ‘fine’) supposedly
found in the hands of one of the victims.

       Without the physical evidence it is of course impossible to perform forensic
testing to try and determine the kind or source of the stain or whose hair was in the
hands of a victim.




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       The preservation and security of evidence is of course paramount for any
investigation and is without question the responsibility of law enforcement,
investigators, crime scene technicians and the laboratory. The procedures to ensure that
evidence is secure are painstaking, but very simple. There are no excuses for
misplacing or losing evidence; incompetence or worse, are the only possible
explanations.




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Conclusions

The volume of forensic DNA testing, analysis and results in People v. Savory can be
summarized very concisely: there are no forensic DNA findings that link the defendant
to the assault, to the victims, to the purported murder weapon, to the blood stains
collected from the crime scene, and to the clothing collected from Mr. Savory.

The complete lack of any physical finding linking Mr. Savory to the assault extends to
the clear exclusion of Mr. Savory to the male DNA identified on the vaginal swabs
taken from the victim. Put another way, the forensic DNA results from the sexual
contact / assault that preceded or incited or was contemporary with the murderous
assault on the victim excludes Mr. Savory. We may not know who this male
contributor to the vaginal swabs is, but we do know it is not Mr. Savory.

This conclusion is supported by data and results obtained by using the most sensitive,
most specific DNA-based genetic identity testing methods, regimens, kits and
equipment available.

The methods, kits and processes available for attempting to determine genetic identity
ca. 1977 were completely different from the methods currently used in forensic DNA.

The methods, kits and processes for the presumptive screening of blood on submitted
evidence are, however, essentially unchanged. Also unchanged are the scientific
method, the use of controls, and the requirements for full and complete discovery from
the forensic laboratory and the obligation to correctly and properly and accurately
report the actual scientific data and findings of forensic testing.

The original laboratory worksheets, work notes and laboratory notes from BOI were not
provided and are apparently missing.
       If the preservation and security of evidence is job #1 of law enforcement, then job
#2 would be the complete and accurate documentation of the laboratory work
performed and the security and preservation of those records.
       This case demonstrates a dramatic failure on both of these requirements from
both the laboratory and law enforcement.

The forensic DNA results as reported describe a number of unknown contributors to
various items of evidence which are investigatory leads to possible suspects. his list



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includes the unknown male DNA profile identified on Connie Cooper’s vaginal swab,
an unknown profile on the light switch, unknown profiles on James Robinson’s
underwear, an unknown profile on a sheet from the crime scene, an unknown profile
from a pillow at the crime scene, an unknown profile from the bedspread at the crime
scene, and an unknown profile from a pillowcase at the crime scene.

The provided documentation only provides one (1) instance where an open profile was
investigated further: a DNA database search was conducted on a deduced minor
profile. Several similar profiles in the database were returned from this search, but
there is no description in the provided materials of any further analysis or investigation
concerning these ‘hits’.

The claim that the folding pocket knife was the murder weapon is not supported, in any
way by the physical findings.
       Despite several laboratory testing attempts no blood and no DNA results linked
to either Mr. Savory or to the victims can be identified on this knife.
       The size and type, folding and small, of the knife essentially preclude this item
from being able to inflict the many and deep injuries to the victims.
       Taken together the data, facts, results and examination of the item (as seen
during the observation of the evidence at the Peoria Police station), essentially
eliminates the knife from being the cutting weapon in this double homicide.

This of course would also explain why there is no forensic DNA evidence linking the
pants to the two victims: if the knife is not the murder weapon and thus was never in
contact with the blood of the victims, it could hardly have transferred the (non-existent)
blood to Mr. Savory’s pants.

None of the physical evidence, none of the forensic DNA evidence, none of the DNA
profiles, none of the laboratory testing, links Mr. Savory to the assaults (homicidal or
sexual) in this case.




Karl Reich, Ph.D.
Independent Forensics
Lombard IL




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Karl A. Reich, Ph. D.
                                                      INDEPENDENT FORENSICS, 500 WATERS EDGE, SUITE 210 LOMBARD IL 60148
                                                                              karl@IFI-Test.com; P 708.234.1200; F 708.978.5115


 FORENSIC DNA / MOLECULAR BIOLOGY / MICROBIOLOGY / PROTEIN BIOCHEMISTRY
    MICROBIAL AND HUMAN FUNCTIONAL GENOMICS / PROTEIN PURIFICATION

Scientist with eight years post-graduate and fifteen years progressive experience in the pharmaceutical and biotechnology
industry. Proven track record of initiating, managing and leading product-oriented research in forensic DNA, genomics,
infectious diseases, pharmaceutical target identification functional genomics, biotherapeutics, molecular biology,
microbiology and strain development for industrial fermentation.

    •   Court Qualified DNA Expert Witness for Forensic DNA, Forensic Biology and Statistics – Testimony and
        depositions in more than one hundred forty cases in State, Federal, Military and International courts in both
        criminal and civil litigation.
    •   Security Clearance – details available upon request
    •   R & D project development and management from conception to market launch for forensic laboratory
        products.
    •   Developed, championed and implemented market-driven strategies for functional genomics biotech startup.
    •   R & D management experience in market-driven pharmaceutical, biotech and forensic DNA companies.
    •   R & D project development experience, including market analysis, target identification and validation, HTS,
        lead evaluation and animal efficacy trials.
    •   Led, built and managed research teams to implement strategic alliances, contract research and ’in-house’
        R & D in molecular biology, anti-infectives and strain development.


                                      PROFESSIONAL EXPERIENCE
INDEPENDENT FORENSICS, Lombard IL                                                                    8/2002 – Present
Chief Scientific Officer/Laboratory Director/Managing Partner for DNA Forensics, Paternity, and Molecular Biology laboratory.
  • Responsibility for development, validation, commercialization, production and manufacturing of new forensic-
    DNA based tests.
  • Supervisory responsibility for all laboratory operations, including validation, documentation, Q/A, Q/C, DNA
    testing, DNA analysis for forensics and paternity.
  • Responsibility for lab design, lab set-up, IT, molecular biology, software and system design and implementation.
  • PI on R & D contracts from federal law enforcement agency, PI on CDC SBIR grant, PI on DHS SBIR award.

ORCHID BIOSCIENCES, Long Island NY                                                                    4/2001 – 6/2002
Pharmaceutical Development for ‘virtual’ pharmaceutical company.
  • Responsibility for outsourcing of GMP synthesis of small molecule therapeutic compound.
  • Initiated, negotiated and supervised CRO managed ongoing Phase II clinical trial.
  • Supervised and outsourced FDA and EMEA fillings for Orphan Drug Status in Europe and U.S.A.
  • Project fully acquired (and terminated) by strategic partner, 6/2002.

INTEGRATED GENOMICS, Chicago, IL                                                                      4/2001 – 2/2002
Director of Pharmaceutical Development – Executive Management Team
Integrated Genomics is a startup functional genomics company focusing on a bioinformatic approach to solving industrial
biotechnology problems.
  • Responsibility for developing and implementing small molecule-based R & D for ‘niche’ anti-infectives markets.
  • Developed research programs for strategic partners in anti-infective biology, industrial strain improvement,
    flavors and fragrance industries and genomic databases.
  • Experience in, and responsible for, presenting research programs to pharmaceutical partners, venture capital funds
    and institutional investors.
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DNA & IMMUNOGENETICS INSTITUTE, Chicago IL                                                             6/2001 – 8/2002
Co-Director, Laboratory Services
DNA & Immunogentics Institute was the first independent DNA testing laboratory in Illinois and performed testing for paternity
determination, transplant matching and blood banks.
  • Paternity & Forensic DNA Testing
  • Blood Antigen Testing


ABBOTT LABORATORIES, Abbott Park IL                                                                   10/1996 – 4/2001
Abbott Laboratories is a mid-tier pharmaceutical company with a strong focus on small molecule therapeutics.
  • Directed, managed and led research group charged with cloning, expressing and purifying protein targets for
    pharmaceutical discovery and biotherapeutics using bacterial, insect and mammalian expression systems.
  • Led effort to identify alternative expression systems/hosts for ‘difficult’ protein classes.
  • Co-developed semi-automated cloning and expression system for HTS of protein targets.
Group Leader, Genomics and Molecular Biology.
  • Devised, championed and directed all phases of genomics-based research program for the identification of novel
    anti-bacterial targets, including microbiology, mol bio, HTS cloning and expression, and database management.
  • Identified and validated dozens of novel anti-bacterial targets.
  • Conceived and managed small molecule discovery projects; including HTS assay development, hit
    characterization, animal efficacy models, SAR determination and toxicity profiles.
  • Initiated proteomics program in Haemophilus influenzae.
  • Developed and fabricated H. influenzae micro-array for inhibitor mode of action studies.
  • Initiated and directed numerous external scientific collaborations.
  • Developed broad knowledge base of genomic techniques, applications and technologies including SNPs,
    pharmacogenomics, proteomics, HTS sequencing, public and proprietary genomic databases.


STANFORD UNIVERSITY SCHOOL OF MEDICINE, Stanford CA                                           10/1990 - 10/1996
Howard Hughes Research Fellow, Laboratory of Dr. Gary Schoolnik
  • Developed research program on luminescent bacterial symbiont, Vibrio. fischeri.
  • Discovered novel ADP-ribosyltransferase in culture supernatants of V. fischeri.
  • Purified and cloned (using reverse genetics) novel ADP-ribosyltransferase from V. fischeri.
  • Developed genetic system for V. fischeri, - targeted knock-outs for gene function identification.
  • Initiated collaborative research with USC marine biology laboratory on symbiont/host interactions.
Post-doctoral fellow, Laboratory of Dr. Gary Schoolnik
  • Developed research program on structure/function relationship of trans-membrane transcriptional activator,
     ToxR, in V. cholerae.
  • Analyzed distribution of ToxR genes in environmental Vibrio isolates.
  • Cloned, sequenced and characterized ToxR gene from luminescent marine bacterium, V. fischeri.


INSTITUT PASTEUR, Paris, France                                                               10/1988 – 10/1990
Fogarty Post-Doctoral Research Fellow
  • Developed mono-clonal antibodies against membrane active toxin of Listeria monocytogenes.
  • Developed novel, large scale purification protocol for listeriolysin.
  • Participated in in vivo tests of single amino acid substituted L. monocytogenes isogenic strains.
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Karl A. Reich                                                                                          Page 3

                                     PRIOR RELATED EMPLOYMENT

UCLA, Los Angeles CA
Dept of Biological Chemistry, Laboratory of Dr. D. Sigman                                          1979-1982
Research Assistant
  • Analysis of non-enzymatic cleavage of DNA by 1,10-orthophenanthroline Copper.
  • Synthesized chemical derivatives of 1,10-orthophenanthroline.
  • Recombinant over-expression and purification of E. coli DNA Polymerase.

HARVARD MEDICAL SCHOOL, Boston MA
Dept. of Neurobiology, Laboratory of Dr. T. Wiesel                                                   1977-1979
Research Assistant
  • Developed micro-bore HPLC for amino acid analysis of retinal homogenates.
  • General laboratory duties, including ordering, organization and solution preparation for histology and EM.

CORNELL UNIVERSITY, Ithaca, NY                                                                 summer 1976
Laboratory of Dr. E. Ellson
 Summer intern Low angle light scattering analysis of liposome preparations.

ROCKEFELLER UNIVERSITY, New York NY                                                                summer 1975
Laboratory of Dr. N. Zinder
 Summer intern Production, purification and use of mini-cells as ‘cell free’ protein translation system.


                                                  EDUCATION

UCLA / HARVARD MEDICAL SCHOOL                                                                      1982-1988
Ph.D. Molecular Biology
  • Thesis: Enzymic Studies on Diphtheria Toxin Fragment A

CORNELL UNIVERSITY                                                                                 1973-1977
B.A. Chemistry


                                                 LANGUAGES
  •   ENGLISH, FRENCH


                                               PUBLICATIONS:
1. D.R. Graham, L.E. Marshall, K.A. Reich and D.S. Sigman, "Cleavage of DNA by Coordination
   Complexes. Superoxide Formation in the Oxidation of 1,10- Phenanthroline-Cuprous Complexes by
   Oxygen. Relevance to DNA-Cleavage Reaction," J. Amer. Chem. Soc., 102, 5419 (1980).

2. L.E. Marshall, D.R. Graham, K.A. Reich and D.S. Sigman, "Cleavage of DNA by the 1,10-
   Phenanthroline-Cuprous Complex. Hydrogen Peroxide Requirement and Primary and Secondary
   Structure Specificity," Biochemistry, 20, 244 (1981).
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3. K.A. Reich, L.E. Marshall, D.R. Graham and D.S. Sigman, "Cleavage of DNA by the1,10-
   Phenanthroline-Cuprous Complex. Superoxide Mediates the Reaction Dependent on NADH and
   Hydrogen Peroxide," J. Amer. Chem. Soc., 103, 3582 (1982).

4. L.M. Pope, K.A. Reich, D.R. Graham and D.S. Sigman, "Products of DNA Cleavage by the 1,10-
   Phenanthroline-Cuprous Complex. Product Analysis," J. Biol. Chem., 257, (20) 12121 (1982).

5. J.D.L. Harpe, K.A. Reich, E. Reich and E.B. Dowdle, "Diamphotoxin: The Arrow Poison of the !Kung
   Bushmen," J. Biol. Chem., 258, (19) 11924 (1983).

6. B.L. Kagan, K.A. Reich and R.J. Collier, "Orientation of the Diphtheria Toxin Channel in Lipid
   Bilayers," Biophys. J., 45, 102 (1984).

7. P. Berche, K.A. Reich, M. Bonnichon, J.L. Beretti, C. Geoffroy, J. Raveneau, P.Cossart, J.L. Gaillard, P.
   Geslin, H. Kreis and M. Veron, "Detection of Anti-Listeriolysin O for Serodiagnosis of Human
   Listeriosis," Lancet, 335, 624-627 (1990).

8. B.A. Wilson, K.A. Reich, B.R. Weinstein and R.J. Collier, "Active-Site Mutations of Diphtheria Toxin:
   Effects of Replacing Glutamic Acid-148 with Aspartic Acid, Glutamine or Serine," Biochemistry, 29,
   8643-8651 (1990).

9. E. Michel, K.A. Reich, R. Favier, P. Berche and P. Cossart, "Attenuated Mutants of the Intracellular
   Bacterium Listeria monocytogenes obtained by Single Amino-Acid Substitutions in Listeriolysin O,"
   Molecular Microbiology, 4 (12), 2167-2178 (1990).

10. F. Nato, K.A. Reich, S.Hopital, S. Rouyre, C. Geoffroy, J.C. Mazie and P. Cossart, "Production and
   Characterization of Monoclonal Antibodies against Listeriolysin O (LLO), the Thiol Activated Hemolysin
   of Listeria monocytogenes: Neutralizing Antibodies are Specific for LLO," Infection and Immunity,
   59(12), 4641-4646 (1991).

11. K.A. Reich and G. K. Schoolnik, "The Light Organ Symbiont Vibrio fischeri Possesses a Homologue of
   the Vibrio cholerae Transmembrane Transcriptional Activator ToxR", J. Bacteriology, 176(10), 3085-
   3088 (1994).

12. B. Wilson, S.R. Blanke, K.A. Reich and R. John Collier, "Active-Site Mutations of Diphtheria Toxin.
   Tryptophan 50 is a Major Determinant of NAD Affinity. J. Biol. Chem., 269(37), 23296-23301, (1994)

13. K.A. Reich and G.K. Schoolnik, “Halovibrin, Secreted from the Light Organ Symbiont, Vibrio fischeri,
   Is a Member of a New Class of ADP-ribosyltransferases,” J. Bacteriology, 178 (1), 209-215 (1996).

14. K.A. Reich, T. Biegel and G.K. Schoolnik, “The Light Organ Symbiont Vibrio fischeri Possesses Two
   Distinct Secreted ADP-ribosyltransferases,” J. Bacteriology, 179(5), 1591-1597 (1997).

15. E. P. Rock, K. A. Reich, D. M. Lyu, M. Hovi, J. Hardy, G. K. Schoonik, B. A. D. Stocker and V.
   Stevens. "Immunogenicity of LTB-hCG Fusion Protein," Vaccine, 14(16), 1560-1568 (1996).

16. L. Katz, D. T. Chu and K.A. Reich. "Bacterial Genomics and the Search for Novel Antibiotics,"
   Annual Reports Med. Chem., 32, 121-130, (1997).
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Karl A. Reich                                                                                     Page 5

17. P. Zhong, Z. Cao, R. Hammond, Y. Chen, J. Beyer V.D. Shortridge, L. Phan, S. Pratt, J. Capobianco, K.
   A. Reich, B. Flamm, Y. S. Or and L. Katz. "Induction Ribosome Methylation in MLS-resistant
   Streptococcus pneumoniae by macrolides and ketolides”, Microb Drug Resist; 5(3), 183-188, (1999).

18. K. A. Reich, P. Hessler, L. Chovan, “Genome Scanning in Haemophilus influenzae: in vitro
   transposition and PCR analysis for the identification of ‘essential genes’, J. Bacteriology, 181(16), 4961-
   4968, (1999).
19. K. A. Reich, “The search for essential genes”, Res Microbiol 151(5), 319-324, (2000)

20. Stabb E. V., K. A. Reich, E. G. Ruby, “Vibrio fischeri genes hvnA and hvnB encode secreted NAD(+)-
   glycohydrolases”, J. Bacteriol., 183(1), 309-317(2001).

21. Tack, L. C., M. Thomas, K.A. Reich, Automated Forensic DNA Purification Optimized for FTA Card
   Punches and Identifiler STR-based PCR Analysis, Clin Lab Medicine, 27(1), 183-9, 2007.

22. Johan H. Melendez, Julie A. Giles, Jeffrey D. Yuenger, Tukisa D. Smith, Khalil G. Ghanem, Karl Reich
   and Jonathan Zenilman. Detection and Quantification of Y Chromosomal Sequences by Real-Time PCR
   Using the LightCycler System, Sexually Transmitted Diseases, March 2007, Vol. 34, No. 3, 2007.

23. Brett Schweers, Jennifer Old, P.W. Boonlayangoor and Karl Reich, Developmental Validation of a
   Novel Lateral Flow Strip Test for Rapid Identification of Human Blood (Rapid Stain Identification™-
   Blood), Forensic Science International, 2, 243-247, 2008.

24. Jennifer Old, Brett Schweers, Jennifer Old, P.W. Boonlayangoor and Karl Reich, Developmental
   Validation of RSIDTM-Saliva; A Lateral Flow Immunochromatographic Strip Test for the Forensic
   Detection of Saliva, J Forensic Sci.,54 (4), 866-873, 2009.

25. Kevin W.P. Miller, Ph.D., Jennifer Old, Ph.D. , Brian R. Fischer, B.S., Brett Schweers, Ph.D. , Simona
   Stipinaite, B.S., and Karl Reich, Ph.D. Developmental validation of the SPERM HY-LITER™ kit for the
   identification of human spermatozoa in forensic samples. J. Forensic Sci., 56 (4); 853-865, 2011.

26. Jennifer Old, Ph.D., Brett A. Schweers, Ph.D., P.W. Boonlayangoor, Ph.D.1, Brian Fischer, B.S., Kevin
   W.P. Miller, Ph.D., and Karl Reich, Ph.D. Developmental Validation of RSID™ -Semen: A Lateral Flow
   Immunochromatographic Strip Test for the Forensic Detection of Human Semen. J. Forensic Sci., 57(2);
   489-499, 2012.

27. Alexander Sinelnikov, Anna Kalinina, Jennifer B. Old, Pravatchai W. Boonlayangoor and Karl A. Reich
   Evaluation of Rapid Stain IDentification (RSID™) Reader System for Analysis and Documentation of
   RSID™ Tests, Appl. Sci. 2013, 3(3), 624; Published online: 5 August 2013

28. Alexander Sinelnikov, K.A. Reich, Amplicon Rx™, Post-PCR Clean-up and Concentration Specifically
   for Forensic DNA Multiplex STR PCR Reactions, , Eur J Forensic Sci Vol 3 Issue 1: 15-21, 2016

ABSTRACTS

New Approach to Statistical Reporting for Forensic DNA Analysis: Boonlayangoor, A. W., Reich, K.A., and
Boonlayangoor, P.W. Published at the 14th International Symposium on Human Identification, Promega
Corporation, Phoenix Arizona. September 29-October 2, 2003.
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Karl A. Reich                                                                                  Page 6


Utilizing Proficiency Testing Survey Results in Forensic DNA Laboratories.
Karl A. Reich, Liz A. Graffy and P.W. Boonlayangoor. Published at the 15th International Symposium on
Human Identification, Promega Corporation, Phoenix Arizona. October 4-7, 2004.

A Novel Lateral Flow Strip Test for Rapid Identification of Human Semen (Rapid Stain Identification-
Semen), 17th International Symposium on Human Identification, Jennifer Old, Brett A. Schweers, P.W.
Boonlayangoor & Karl Reich, Nashville Tennessee October 8-12, 2006.

A Novel Lateral Flow Strip Test for Rapid Identification of Human Saliva (Rapid Stain Identification-
Saliva), 17th International Symposium on Human Identification, Jennifer Old, Brett A. Schweers, P.W.
Boonlayangoor & Karl Reich, Nashville Tennessee October 8-12, 2006.

A Novel Lateral Flow Strip Test for Rapid Identification of Human Blood (Rapid Stain Identification-
Blood), 17th International Symposium on Human Identification, Jennifer Old, Brett A. Schweers, P.W.
Boonlayangoor & Karl Reich, Nashville Tennessee October 8-12, 2006.

Developmental Validation of SPERM HY-LITER™: A Specific, Sensitive, and Confirmatory Screening
Method for Human Sperm from Sexual Assault Evidence Jennifer Old, Brett A. Schweers, P.W.
Boonlayangoor & Karl A. Reich 19th International Symposium on Forensic Sciences, ANZFSS Melbourne
meeting – October 2008

Developmental Validation of SPERM HY-LITER™: A Specific, Sensitive and Confirmatory Screening
Method for Human Sperm Detection from Sexual Assault Evidence. 19th International Symposium on
Human Identification. Jennifer Old*, Brett A. Schweers*, P.W. Boonlayangoor & Karl Reich - Promega
HID meeting - October 2008

Case Study: Analysis of an anorectal swab alleged to contain canine sperm using a fluorescently labeled
human sperm head specific antibody. 19th International Symposium on Human Identification. Marisa
Farhner, Brett A. Schweers & Karl Reich – Promega HID meeting - October 2008

Summary Results of a Blinded Study on the Effectiveness and Efficiency of using SPERM HY-LITER™ to
Screen Sexual Assault Evidence for Sperm. 20th International Symposium on Human Identification. Jennifer
Old Ph.D., Marisa Fahrner MS, Jie Wu Ph.D., Christian G. Westring Ph.D., P.W. Boonlayangoor Ph.D. and
Karl Reich Ph.D.

Mapping Duct Tape for the Presence of Saliva Using Phadebas Press Sheets, 23rd International Symposium
on Human Identification, Lynette Johns B.S., Pravat Boonlayangoor Ph.D. and Karl A. Reich Ph.D.

Substrate Controls – A Simple Story 24rd International Symposium on Human Identification, Lynette Johns
B.S., P.W. Boonlayangoor Ph.D. & Karl A. Reich Ph.D.

Solution For Partial Profiles: Amplicon Rx™ Post-PCR Clean-up Kit, 24rd International Symposium on
Human Identification Alex Sinelnikov and Karl A. Reich

A bridge between two previously separate forensic disciplines: latent examination and DNA profiling.
Development of new materials, methods and procedures for the collection of enhanced latent friction ridge
impressions (fingerprints) and DNA profiling from the same evidence. 101St International Association of
Identification, Alex Sinelnikov, Ph.D., Dyer Bennet, Karl Reich, Ph.D.
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An Efficient and Effective Protocol for Identifying Sperm from Anal Swabs Using SPERM HY-LITER
EXPRESS, 27th International Symposium on Human Identification, Jennifer B Old; Anna K Trobe, Karl A.
Reich and P.W. Boonlayangoor

A New Tool to Assist Criminal Investigators: DNA-STR Profiles from “Skin and Oil” Fingerprints, 27th
International Symposium on Human Identification, Alexander Sinelnikov, P.W. Boonlayangoor and Karl A.
Reich

PCR-Based tests for the Forensic Detection of Feces: Use of Bacteroides species indicators of Fecal
Contamination, 27th International Society for Forensic Genetics, A. Sinelnikov, E. Kopitke, K. Reich

Material and Methods that Allow Fingerprint Analysis and DNA Profiling from the Same Latent Evidence.
27th International Society for Forensic Genetics, A. Sinelnikov and K. Reich


TRAINING CLASSES

Illinois Institute for Continuing Legal Education (IICLE) – Chicago IL September 2006
Faculty for IICLE DNA Evidence Course. Introduction to DNA and DNA Evidence for legal Professionals.
Evidence, DNA Matching, Statistics, Defense and Prosecution Strategies, Case Review

Illinois Institute for Continuing Legal Education (IICLE) – Bloomington IL September 2006
Faculty for IICLE DNA Evidence Course. Introduction to DNA and DNA Evidence for legal Professionals.
Evidence, DNA Matching, Statistics, Defense and Prosecution Strategies, Case Review

Illinois Institute for Continuing Legal Education (IICLE) – Chicago IL March 2007
Faculty for IICLE Defending Illinois Death Penalty Case – Cold Hits and Cold Cases: DNA Databases and
New Technologies in Forensic DNA.

Illinois Institute for Continuing Legal Education (IICLE) – Fairview Heights IL November 2007
Faculty for IICLE Defending Illinois Death Penalty Case – Cold Hits and Cold Cases: DNA Databases and
New Technologies in Forensic DNA.

Southwest Association of Forensic Sciences (SWAFS) – Austin TX October 10, 2007. Training workshop:
Next Generation Sperm and Body Fluid Identification Tests: SPERM HY-LITER™ and RSID™-Saliva,
Blood and Semen. Instructors: Karl Reich and Nadine Mattes.
Louisiana Association of Forensic Sciences (LAFS) – Baton Rouge LA, October 24, 2007. Training
Workshop: Fluorescent Detection of Sperm from Sexual Assault Evidence. Instructors: Karl Reich and
Nadine Mattes.

Northwestern Association of Forensic Scientists (NWAFS) – Salt Lake City UT –November 5, 2007.
Training Workshop: Sensitive and Specific Fluorescent Detection of Human Sperm. Instructor: Karl Reich

McCrone College of Microscopy, COM700: Body Fluid Identification and Microscopic Methods of Sperm
Detection for Forensic DNA/Serology/Biology. Instructor for Training class on human body fluid
identification. December 11-13, 2007.
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McCrone College of Microscopy, COM700: Body Fluid Identification and Microscopic Methods of Sperm
Detection for Forensic DNA/Serology/Biology. Instructor for Training class on human body fluid
identification. April 22-24th, 2008.

Mid-Atlantic Association of Forensic Scientists (MAAFS) – Huntington WV – April 30th, 2008. Training
Workshop: Body Fluid Identification from Sexual Assault Evidence. Instructor for Training class on human
body fluid identification.

McCrone College of Microscopy, COM700: Body Fluid Identification and Microscopic Methods of Sperm
Detection for Forensic DNA/Serology/Biology. Instructor for Training class on human body fluid
identification. August 19-21th, 2008.

Southwest Association of Forensic Sciences (SWAFS) – Little Rock AK September 25th, 2008 Training
workshop: Next Generation Sperm and Body Fluid Identification Tests: SPERM HY-LITER™ and RSID™-
Saliva, Blood and Semen. Instructors: Karl Reich and Ruben Nieblas.

Midwest Association of Forensic Scientists (MAFS) – Des Moines IA – September 30th, 2008. Training
Workshop: Body Fluid Identification from Sexual Assault Evidence. Instructors for Training class on human
body fluid identification Ruben Nieblas and Karl Reich.

McCrone College of Microscopy, COM700: Body Fluid Identification and Microscopic Methods of Sperm
Detection for Forensic DNA/Serology/Biology. Instructor for Training class on human body fluid
identification. December 2-4th, 2008.

SAFS/SWAFS/MAFS Combined Meeting Workshop: Current Topics and Development in Body Fluid
Identification and Source Attribution. Instructor for Training Class on human body fluid identification for
forensic DNA analysts. October 20th, 2009

SWAFS Workshop on Identification and Isolation of sperm from sexual assault evidence. Instructor for
hands-on training class, LCM and SPERM HY-LITER™. September 23, 2010.

NEAFS/NEDIAI Combined Meeting Workshop: Forensic Body Fluid Identification Techniques – Hands-on
Short Course for Saliva, Blood, Urine, Semen and Sperm. November 8th 2010.

CAC Workshop on Body Fluid Identification: Blood, Saliva Semen, Urine and Sperm. Hands-on training
class, Instructors Karl Reich and Dina Mattes, Bakersfield CA, May 8th, 2012.

Primer Seminario Taller Iberoamericano de Nuevas Technologia en Analisis de Fluidos Biologicos Y Nueva
Generacion de Secuenciacon, Instructors Karl Reich and Helga Langthon, Panama October 19th, 2015

SWAFS Workshop on Body Fluid Identification and New Technologies and Trends in Forensic DNA,
Instructors Karl Reich and Dina Mattes, Oklahoma City, October 21, 2015.

MAFS/SAFS Workshop: Rescue DNA – LCM, Post-PCR, Touch DNA, Instructors Karl Reich, Jennifer Old
and Dina Mattes, Cincinnati, OH, September 20th, 2017
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                                         CONTINUING EDUCATION

American Academy of Forensic Sciences 67th Annual Meeting                                                  Feb 2015
Southwestern Association of Forensic Scientists,                                                           Oct 2015
26th International Symposium on Human Identification                                                       Sep 2015
American Academy of Forensic Sciences 68th Annual Meeting                                                  Feb 2016
27th International Symposium on Human Identification                                                       Sep 2016
interForensics, Conferencia Internacional de Ciencias Forenses                                             May 2017
28th International Symposium on Human Identification                                                       Oct 2017
ASCLD Symposium                                                                                            May 2017
9th Asian Forensic Sciences Network                                                                        Sep 2017
27th Congress of the International Society for Forensic Genetics                                           Sep 2017
29th International Symposium on Human Identification                                                       Sep 2018
28th Congress of the International Society for Forensic Genetics                                           Sep 2019
11th Annual Meeting & Symposium Asian Forensic Science Network,                                            Sep 2019
American Academy of Forensic Sciences 72nd Annual Meeting                                                  Feb 2020
American Academy of Forensic Sciences 74th Annual Meeting                                                  Feb 2022
29th Congress of the International Society for Forensic Genetics                                           Sep 2022
American Academy of Forensic Sciences 75th Annual Meeting                                                  Feb 2023
Thedford Garber Law, Third Annual Criminal Defense and Civil Rights CLE Conference                        .Mar 2023

                                  COURT & DEPOSITION EXPERIENCE:
Dr. Reich has been court qualified as an Expert in Forensic DNA, Forensic Biology and the interpretation of
Forensic DNA Statistics in the following jurisdictions (in alphabetical order):
        California                                                       Missouri
        Dublin (Ireland)                                                 Nebraska
        Florida                                                          New Jersey
        Illinois                                                         New Mexico
        Indiana                                                          New York
        Iowa                                                             Ohio
        Kentucky                                                         South Dakota
        Massachusetts                                                    Virginia
        Maryland                                                         Washington D.C.
        Michigan                                                         Wisconsin
        Minnesota
This includes cases in State and Federal courts on both criminal and civil matters. Additional details
available upon request.

Note:
Forensic DNA is defined as the methods, procedures, protocols, regulations, standards, and underlying science used to
process samples, both evidentiary and reference, for obtaining genetic identity information. The collection, storage,
processing, analysis of forensic evidence and the interpretation of such data are included in this definition.

Forensic Biology is defined as the methods, procedures, protocols, regulations, standards, and underlying science used
to identify body fluids (blood, saliva, semen, urine and feces) and to identify spermatozoa from forensic evidence. The
collection, storage, processing, analysis of forensic evidence and interpretation of such data are included in this
definition.
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Karl A. Reich, Ph. D.
                                          INDEPENDENT FORENSICS, 500 WATERS EDGE, SUITE 210 LOMBARD IL 60148
                                                               karl@IFI-Test.com; P 708.234.1200; F 708.978.5115


COURT & DEPOSITION RECORD

Amy Gorac v. George Gorac:                       02D2244/September 15, 2004
Attorney Steve Deitch
DuPage County, IL
Deposition by: Dr. Karl A. Reich

People v. Derrick Lee                            00CR 28948/March 14, 2005
Atty. Charles K. Piet
Chicago, IL
By: Dr. Karl Reich

People vs. Edgar Mullin,                         03CR 5752/June 27, 2005
Atty. Leroy Cross
Chicago, IL
By: Dr. Karl Reich

People vs. Juan Luna Jr.                         02CR 15430/June 9, 2006
Attorney Clarence L. Burch/Allan Sincox
Chicago, Il
Deposition by: Dr. Karl A. Reich

People vs. Octavia Anima                         03CR 17306/March 14, 2007
Attorney Gigi Gilbert
Chicago, IL
By: Dr. Karl A. Reich

People vs. Juan Luna Jr.                         02CR 15430/May 1, 2007
Attorney Clarence L. Burch/Allan Sincox
Chicago, Il
By: Dr. Karl A. Reich

Will County vs. Kevin Fox                        04C7309/October 9, 2007
Attorney Kathleen T. Zellner
Oak Brook, IL
Deposition by: Dr Karl A. Reich

Will County vs. Kevin Fox                        04C7309/December 6, 2007
Attorney Kathleen T. Zellner
Dirksen Federal Court, Chicago, IL
By: Dr Karl A. Reich
People vs. Diane Thames                          05CR 21070
Attorney Kathleen T. Zellner                     January 17, 2008
Rolling Meadow Road, Palatine, IL
By: Dr Karl A. Reich

Commerce Bank v. Widger, et al                   U.S. District
Attorney James P. Ginzkey                        Court No. 06-CV-1103
At IFI, Hillside IL                              June 3, 2008
Deposition by: Dr. Karl A. Reich
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COURT & DEPOSITION RECORD, CONT’D

Harold Hill v. City of Chicago, et al
Attorney Russell Ainsworth                   Court No. 06C 6772
30 North LaSalle Street, Chicago, IL         July 18, 2008
Deposition by: Dr. Karl A. Reich

People v. John Garfield                      06CR 6123
Attorney Ms Christa Petty                    Feb. 25, 2009
Chicago, IL
By: Dr. Karl Reich

U.S.A. v. Seth Hornedeagle                   U.S. District
Attorney Anthony White                       Court, No 08CR046RB
Las Cruces, NM                               April 9th, 2009
By: Dr. Karl Reich

People v. Jacob Young                        C06-047071
Attorney Ms Christa Petty                    July 10, 2009
Chicago, IL
By: Dr. Karl Reich

Donny McGee v. City of Chicago               08L 3503/
Attorney Russell Ainsworth                   04CV 6352
53 West Jackson Blvd, Suite 1800             October 29, 2009
Chicago IL 60604
Deposition by: Dr. Karl A. Reich

U.S.A. v. Theodore Largo                     U.S. District
Attorney Steve Aarons                        Court, No 1:08-CR02830JCH-1
Albuquerque, NM                              May 10th & May 11th, 2010
By: Dr. Karl Reich

Donny McGee v. City of Chicago               IL State Court
Attorney Russell Ainsworth                   04CV 6352
50 West Randolph Street                      May 26th, 2010
Chicago IL
By: Dr. Karl Reich


People v. Viliufo Escobar                    07 CR 5255
Attorney Dan Nolan                           July 15, 2010
Bridgeview IL
By: Dr. Karl Reich

People v. Brian Andvik                       73-Cr-10-17
Attorney Thomas Murtha                       Stearns County, MN
Attorney Rich Kenly                          July 16, 2010
St. Cloud MN
By: Dr. Karl Reich
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Karl A. Reich                                                                        Page 3

COURT & DEPOSITION RECORD, CONT’D

U.S.A v Theodore Largo                       Cr.No.08-2830
Attorney Steven Aarons                       July 28, 2010
Albuquerque, NM
By: Dr. Karl Reich

State v. Vasily London                       Case# 07017348CF10A
Attorney: Viviane Gariboldi                  Broward County, FL
Attorney Joanna Nagy                         November 15th, 2010
Broward County, FL
By Dr. Karl Reich

State v. Willie Baldwin                      Case# 07CR 1301, O7CR 1302
Attorney: Deana Binstock                     Cook County, IL
Chicago IL                                   December 2nd& 3rd 2010
By Dr. Karl Reich

DPP v. Colm Quigley                          Laboratory Case # 08/07979
Solicitor: Tony O’Malley                     Ref# 17619/2008
Barrister: Michael Delaney SC                January 20th, 2011
Dublin
Ireland
By Dr. Karl Reich

State v. Thomas Soule                        Case# 09 CF-178,
Attorney Randall Morgan                      Livingston County
Pontiac IL                                   March 7th, 2011
By Dr. Karl Reich

State v. Daniel Cleary                       Case# 10-CF-205
Attorney John Lonergan                       Tazewell County
Pekin IL                                     March 8th, 2011
By Dr. Karl Reich

State v. Crandall Williams                   Case# 08 CR 07754
Attorney John Wilson                         Cook County
Attorney Brian Walsh                         March 11th, 2011
Markham IL
By Dr. Karl Reich

State v. Olushola Aleem                      Case# 109139012
Attorney Andrew Northrup                     Baltimore County
Attorney Karyn Meriwether                    May 5th, 2011
Baltimore MD
By Dr. Karl Reich

State v. Jonnie Butler                       Case# 109288023
Attorney Jeff Gilleran                       Baltimore County
Attorney Karyn Meriwether                    October 13th, 2011
Baltimore MD
By Dr. Karl Reich
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Karl A. Reich                                                                         Page 4

COURT & DEPOSITION RECORD, CONT’D

State v. Dauda Kohlheim                      Case# 99-08-72019
Attorney Galyard Williams                    St. Louis County
St. Louis / Clayton MO                       November 3rd, 2011
By Dr. Karl Reich

People v. Lazerrick Mosley                   Case# 09CR 4024
Attorney Dan Nolan                           Cook County
Markham IL                                   November 9th, 2011
By Dr. Karl Reich

People v. Brandon Starks                     Case# 10CR 3064
Attorney Charles Pinkston                    Cook County
Chicago IL                                   December 8th, 2011
By Dr. Karl Reich

People v. Edward Taylor                      Case# 09CR 222430
Attorney Winona Agbabiaka                    Cook County
Chicago IL                                   February 28th, 2012
By Dr. Karl Reich

People v. Willie Baldwin                     Case# 07-CR-1301, 02
Attorney Deana Binstock                      Cook County
Chicago IL                                   March 2nd, 2012
By Dr. Karl Reich

People v. Eric Hinton                        Case 119168, Matter ID XX-XXXXXXX
Attorney Sherryl Statland                    Montgomery County
Rockville MD                                 March 14, 2012
By Dr. Karl Reich

People v. Charlie Lewis                      Court Case # 27-CR-10-7607
Attorney Catherine Turner                    Hennepin County
Minneapolis MN                               March 26th, 2012
By Dr. Karl Reich

People v. John Ferryman                      Court Case# 98 CF 1709
Attorney Valerie Pacis                       DuPage County
Wheaton IL                                   April 12th, 2012
By Dr. Karl Reich

People v. John Ferryman                      Court Case# 98 CF 1709
Attorney Valerie Pacis                       DuPage County
Wheaton IL                                   May 14h, 2012
By Dr. Karl Reich

People v. Robert Anderson                    Court Case #03-07356
Attorney Steve Richards                      Cook County
Chicago IL                                   August 24, 2012
By Dr. Karl Reich
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Karl A. Reich                                                                          Page 5

COURT & DEPOSITION RECORD, CONT’D

People v. Gregory Nania                      Court Case# 2009 CF-2144
Attorney Mr. Dan Cain                        Winnebago County
Rockford IL                                  September 6, 2012
By Dr. Karl Reich

Kina Burgs v. Chicago Police                 Court Case# 07 L 6885
Attorney M. LeCompte                         Cook County
Lombard IL                                   January 8th, 2013
Deposition by Dr. Karl Reich

State of Ohio v. David Ayers                 Court Case CR 388738
Attorney Mr. Russell Ainsworth               Cuyahoga County
Cleveland OH                                 March 4th, 2013
By Dr. Karl Reich

People v. Eric Bernard                       Court Case 10 CF 306
Mr. Eric Bernard acting pro se               DeKalb Countty
Sycamore IL                                  March 15, 2013
By Dr. Karl Reich

People v. Anthony Triplett                   Court Case 07- CR-1330; 07-CR-2970
Attorney Jack Rimland, Allan Sincox          Cook County
Chicago IL                                   May 9th, 2013
By Dr. Karl Reich

Florida v. Danny Johnson                     Court Case 11-2655CF10A
Attorney Donald Cannarozzi                   Broward County
Chicago IL                                   May 13th, 2013
Deposition by Dr. Karl Reich

Stanfield v. Cook County                     Court Case 10 C 6569
Attorney Luke Casson                         U.S. District Court, Chicago IL
Chicago IL                                   May 22nd, 2013
By Dr. Karl Reich

People v. Eric Bernard                       Court Case 10 CF 306
Mr. Eric Bernard acting pro se               DeKalb County
Sycamore IL                                  June 13, 2013
By Dr. Karl Reich

People v. Brian D. Allen                     Court Case M-148-2012 V
Attorney Michelle Potoczny Gu, Mark Wolber   Saratoga County
Saratoga NY                                  July 24, 2013
By Dr. Karl Reich

Florida v. Johnathan Holte                   Court Case 2009CF2362
Attorney Joe Campoli                         Manatee County
Bradenton FL                                 November 18th, 2013
By Dr. Karl Reich
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COURT & DEPOSITION RECORD, CONT’D

Florida v. Danny Johnson                     Court Case 11002655CF10A
Attorney: Don Cannarozzi                     Broward County
Ft. Lauderdale FL                            December 18th, 2013
By Dr. Karl Reich

IL v. Eric Bernard                           Court Case 10 CF 306
Attorney Daniel Transier                     DeKalb County
Sycamore IL                                  February 6, 2014
By Dr. Karl Reich

Indiana v. Arthur Lee Gates, Jr.             Court Docket 82A01-0806-CR-302
Attorney Bill Polansky                       Vanderburgh County
Evansville IN                                March 5th 2014
By Dr. Karl Reich

IL v. Kevin Oldaker                          Court Docket 2010 CF 447
Attorney Azhar Minhas                        Boone County
Belvidere IL                                 March 12th, 2014
By Dr. Karl Reich

IL v. James Hampton                          Court Docket 07 CR 4582
Attorney Scott Kozicki                       Cook County
Chicago IL                                   March 24, 2014
By Dr. Karl Reich

MD v. Darius Keenan                          Court Docket K-2013-2005, ID XX-XXXXXXX
Attorney Jeff Gilleran                       Anne Arundel County
Attorney William Davis                       April 09, 2014
Annapolis MD
By Dr. Karl Reich

MD v. Darius Keenan                          Court Docket K-2013-2005, ID XX-XXXXXXX
Attorney Jeff Gilleran                       Anne Arundel County
Atorney William Davis                        April 25, 2014
Annapolis MD
By Dr. Karl Reich

Hubert Burgs v City of Chicago               US Federal Court, 1:2013cv01988
Attorney Marcelle LeCompte                   Illinois Northern District
Chicago IL                                   Chicago IL
By Dr. Karl Reich                            September 23, 2014

U.S. v Demonta Chappell                      US Federal Court, 2013-CF1-2097
Attorney Chris Roberts                       District of Columbia
Washington D.C.                              October 16th, 2014
By Dr. Karl Reich

IL v Stephen Johnson                         Court Docket 11 CR 5008
Attorney Richard Dvorak                      Cook County
Markham IL                                   November 20th, 2014
By Dr. Karl Reich
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COURT & DEPOSITION RECORD, CONT’D

IL v Demetrious Beal                         Court Docket 12 CF 2382
Attorney Cosmo Tedone                        Will County
Joliet IL                                    December 18th, 2014
By Dr. Karl Reich

Indiana v. Arthur Lee Gates, Jr.             Court Docket 82A01-0806-CR-302
Attorney Bill Polansky                       Vanderburgh County
Evansville IN                                January 23rd 2015
By Dr. Karl Reich

Illinois v Jerome Robertson                  Court Docket 12 CR 2391
Attorney Steven Fagan                        Cook County
Markham IL                                   February 26, 2015
By Dr. Karl Reich

Sarah Pyles v Village of Manteno et al       Case No. 13 C 21214
Attorney Daniel Kiss                         U.S. District Court, Urbana IL
Deposition by Dr. Karl Reich                 March 6, 2015

IL v Demetrious Beal                         Court Docket 12 CF 2382
Attorney Cosmo Tedone                        Will County
Attorney Jeff Tomczak                        continuation of previous hearing
Joliet IL                                    April 28th, 2014
By Dr. Karl Reich

NY v Daniel Ramos                            Court Docket 2013 CR 338372
Attorney Michael Berger                      Nassau County
By Dr. Karl Reich                            May 20, 2015

IN v Freddie Alcantar                        Court Docket 02D05-1401-MR-1
Attorney Michelle Kraus                      Allen County
Fort Wayne IN                                August 24, 2015
By Dr. Karl Reich

IL v Samuel Gayden                           Court Docket 10-CR-18156
Attorney Gina Piemonte                       Cook County
Chicago IL                                   September 9th, 2015
By Dr. Karl Reich

IN v Freddie Alcantar                        Court Docket 02D05-1401-MR-1
Attorney Michelle Kraus                      Allen County
Fort Wayne IN                                October 22, 2015
By Dr. Karl Reich

IL v Stallworth, Miller                      Court Docket 14 CR 426
Attorney A Thedford                          Cook County
Chicago IL                                   December 9, 2015
By Dr. Karl Reich
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COURT & DEPOSITION RECORD, CONT’D

CA v Martin Van Eycke                       Court Docket 13017048 (MCN), 221929 (SCN)
Attorney Diane Knoles                       City and County of San Francisco
San Francisco CA                            December 16th, 2015
By Dr. Karl Reich

SD v Benjamin Thomas                        Court Docket CRI 15.01
Attorney Robin Eich                         Turner County
Parker SD                                   January 13, 2016
By Dr. Karl Reich

IL v Morris Williams                        Court Docket 2013-CF-304
Attorney Jacqueline Lacy                    Vermillion County
Danville IL                                 January 22, 2016
By Dr. Karl Reich

IL v Jerimiah Pinkerman                     Court Docket 2010 CF 1840
Attorney Bernard Ward                       Will County
Joliet IL                                   March 22, 2016
By Dr. Karl Reich

MO v Dane Tillman                           Agency Case # 220113
Attorney Nicholas Swischer                  Dade County
Wheaton IL                                  March 18, 2016
Deposition by Dr. Karl Reich

IA v James Arneson                          Court # FECR350403
Attorney Joe McCarville                     Webster County
Lombard IL                                  March 29, 2016
Deposition by Dr. Karl Reich

IA v James Arneson                          Court # FECR350403
Attorney Joe McCarville                     Webster County
Fort Dodge, IA                              April 07, 2016
By Dr. Karl Reich

Jeron Johnson v Luthera Williams            Probate court, docket unknown
Attorney Michael Zweig                      Cook County
Chicago IL                                  April 11, 2016
By Dr. Karl Reich

SD v Benjamin Thomas                        Court Docket CRI 15.01 (retrial)
Attorney Robin Eich                         Turner County
Parker SD                                   June 2-3, 2016
By Dr. Karl Reich

IL v Adrian Pettis,                         Court Docket 12 CR 18409
Attorney Maria Owens                        Cook County
Chicago IL                                  June 30, 2016
By Dr. Karl Reich
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Karl A. Reich                                                                           Page 9

COURT & DEPOSITION RECORD, CONT’D

IN v R.K. Niemeyer                           Court Docket .02D04-1509-MR-3
Attorney Randy Fisher                        Allen County
Fort Wayne IN                                July 20, 2016
By Dr. Karl Reich

IN v Malcom Wade                             Court Docket 53C02 1411 F3 001042
Attorney Isabella Bravo                      Monroe County
Bloomington IN                               August 3, ,2016 (2)
By Dr. Karl Reich

IL v Edgar Morales                           Court Docket 11 CR 10436
Attorney John Benson                         Cook County
Chicago IL                                   September 1, 2016
By Dr. Karl Reich

NE v Anthony Garcia                          Court Docket CR 13 2311
Attorney Jeremy Jorgenson                    Douglas County
Attorney Robert Motta
Omaha NE                                     October 19, 2016
By Dr. Karl Reich

NJ v Russell Bouse                           Court Docket 10-12-1057-I
Attorney V. Sanzone                          Gloucester County
Woodbury NJ                                  October 27, 2016
By Dr. Karl Reich

IL v Jaime Rodriguez                         Court Docket 13 CR 21500
Attorney Scott Gordon                        Cook County
Skokie, IL                                   December 5, 2016
By Dr. Karl Reich

LaPorta v City of Chicago, et al             Court Docket 14 CV 9665
Attorney Debra Thomas                        U.S. District Court, Northern District
Chicago IL                                   March 21, 2017
Deposition by Dr. Karl Reich

IL v Whalen                                  Court Docket 91 CF 344
Attorney Eliot Slosar                        McLean County
Bloomington IL                               May 5th, 2017
By Dr. Karl Reich

IL v Jorge Torres                            Court Docket 12 CF 127
Attorney Jed Stone                           Lake County
Waukegan IL                                  May 9th, 2017
By Dr. Karl Reich

IL v Kenneth Rhodes                          Court Docket 12 CR 3075
Attorney Christa Petty                       Cook County
Chicago IL                                   May 10th, 2017
By Dr. Karl Reich
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COURT & DEPOSITION RECORD, CONT’D

MD v Lloyd Harris                            Court Docket: 10-K-16-057851 Matter ID: XX-XXXXXXX
Attorney Mathew Frawley                      Frederick County
Frederick MD                                 June 27, 2017
By Dr. Karl Reich

MI v Larry Smith                             Court Docket 16-000534-FC
Larry Smith pro se                           Berrien County
Attny Richard Sammis
By Dr. Karl Reich                            July 14th, 2017

Cole v Meeks et al                           Court Docket 15-CV-01292
Attorney Douglas Johnson                     U.S. District Court, Peoria Division
Downers Grove IL                             August 7th, 2017
Deposition by Dr. Karl Reich

LaPorta v City of Chicago, et al             Court Docket 14-Cv-9665
Attorney Bruno Marasso                       U.S. District Court, Northern District
Chicago IL                                   October 12, 2017
By Dr. Karl Reich

MD v. Lloyd Arbard Harris                    Case No: 10-K-16-057851
Attorney Mathew Frawley                      District Court, Frederick County
Frederick MD                                 October 30, 2017
By Dr. Karl Reich

IL v Drew Terrell                            Court Docket 85 CR 10757
Attorney Dan Coyne                           Cook County
Chicago IL                                   November 29, 2017
By Dr. Karl Reich

MI v Jason Garlow                            Court Case 2017-264384-FH
Attorney Matthew Crandall                    District Court, Oakland County,
Pontiac MI                                   December 6, 2017
By Dr. Karl Reich

IL v Hallom                                  Court Case 13 CR 12983
Attorney Christa Petty                       Cook County
Chicago IL                                   March 9, 2018
By Dr. Karl Reich

MI v Jason Garlow                            Court Case 2017-264384-FH
Attorney Matthew Crandall                    District Court, Oakland County,
Pontiac MI                                   April 11, 2018 (retrial)
By Dr. Karl Reich

IN v Stinemetz                               Court Case 25C01-1511-MR-000569
Attorney Brad Rozzi                          District Court, Fulton County
Rochester IN                                 May 3, 2018
By Dr. Karl Reich
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Karl A. Reich                                                                       Page 11

COURT & DEPOSITION RECORD, CONT’D

IN v Ivory                                               Court Case No. 71D02-1701-MR-000001
Attorney Vincent Campiti                                 St. Joseph County
South Bend IN                                            August 7, 2018
By Dr. Karl Reich

People v. Brandon Starks                                 Case# 10 CR 3064, 10 CR 4408
Attorney Christa Petty, Gina Piemonte                    Cook County
Chicago IL                                               October 25th, 2018
By Dr. Karl Reich

People v Gary Blakley                                    Court Case 12 CR 5684-01
Attorney Michael Johnson                                 Cook County
Chicago IL                                               November 16, 2018
By Dr. Karl Reich

IL v Whalen                                              Court Docket 91 CF 344
Attorney Tara Thompson                                   McLean County
Bloomington IL                                           February 12, 2019
By Dr. Karl Reich

IL v Kenneth Williams                                    Court Docket 16CF539
pro se                                                   Champaign County
Urbana IL                                                February 14th, 2019
By Dr. Karl Reich

KY v David Dooley                                        Court Docket 12 CR 00622
Attorney Jeff Lawson                                     Boone County
Florence KY                                              March 08, 2019
By Dr. Karl Reich

MD v Daniel Gross                                        Court Docket 128021C, CR# 15-034375
Attorney Tom Pavlinic                                    Montgomery County
Rockville MD                                             April 12, 2019
By Dr. Karl Reich

IL Dept of Financial & Professional Regulation           No. 2018-02807
Attorney James Goldberg                                  Cook County IL
Chicago IL                                               May 30, 2019
By Dr. Karl Reich

IL v Angel Rodriguez                                     No. 99 CR 24480
Attorney Russell Ainsworth                               Cook County IL
Chicago IL                                               August 6th, 2019
By Dr. Karl Reich

IL v William Webb                                        No. 16 CF 318
pro se defendant                                         LaSalle County IL
Ottawa IL                                                October 23, 2019
By Dr. Karl Reich
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Karl A. Reich                                                                            Page 12

COURT & DEPOSITION RECORD, CONT’D

IL v Dwight Beck                                          No. 17 CR 5422
Attorney Charles Pinkston                                 Cook County
Markham IL                                                October 24, 2019
By Dr. Karl Reich

USA v Isaac N. Gibbons                                    Criminal Case 1:18-cr-454
Attorney Edward MacMahon                                  US District Court, Eastern Virginia
Attorney David Benowitz
Alexandria VA                                             November 13, 2019
By Dr. Karl Reich

Andersen v City of Chicago, et al.,                       16 CV 1963
Attorney Heather Donnell                                  U.S. District Court, Northern Division IL
Chicago IL                                                December 5, 2019
By Dr. Karl Reich

MD v Keith Davis, Jr.,                                    Case No. 116009001
Attorney Deborah Levi
Attorney Andrew Northrup                                  Baltimore County
Baltimore MD                                              February 28th, 2020
By Dr. Karl Reich

IL v. Joshua Mecum                                        Case No. 18 CF 364
Attorney Joseph Parisi                                    Kankakee County
Kankakee IL                                               June 10, 2020
By. Dr. Karl Reich

IL v Bryan Stahl                                          Case no 18 CF 768
Attorney P. Prossnitz                                     McHenry County
Woodstock IL                                              June 22, 2020
By Dr. Karl Reich

IN v Mark Brady                                           Case 32D04-1706-F3-000027
Attorney Annie Fierek                                     Hendricks County
Danville IN                                               September 17, 2020
By Dr. Karl Reich

IL v Jamal Drane                                          Court Case 18 CF 944.
Attorney Michael Kereluk                                  Kane County
St. Charles IL                                            September 29th, 2020
By Dr. Karl Reich

IN v Winston Corbett                                      Court Case 20C01-1811-MR-000004
Attorney Peter Britton                                    Elkhart County
Goshen, IN                                                November 10th, 2020
By Dr. Karl Reich

William Virgil v. City of Newport,                        No. 16-CV-224
Attorney Elliot Slosar, Molly Campbell                    Eastern District of Kentucky
Lombard IL / Newport KY (via video)
Deposition by Dr. Karl Reich
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COURT & DEPOSITION RECORD, CONT’D

IN v Brent Taylor                                         Court Case 02D05-1905-F1-10
Attorney G.L. Fumarolo                                    Allen County
Lombard IL / Fort Wayne IN (via video)                    February 19, 2021
Deposition by Dr. Karl Reich

ME v Jeffrey Williams                                     Court Case Yor-10-578
Attorney R.C. Andrews                                     Cumberland County
Lombard IL / Portland ME (via video)                      February 22, 2021
Deposition by Dr. Karl Reich

IN v Brent Taylor                                         Court Case 02D05-1905-F1-10
Attorney G.L. Fumarolo                                    Allen County
Fort Wayne IN                                             March 11, 2021
By Dr. Karl Reich

IL v Carlos Menodoza                                      Court Case 2019 CF 000113
Attorney Raul Villalobos                                  Champaign IL
Urbana IL                                                 April 21, 2021
By Dr. Karl Reich

NM v Jerry Espinoza                                       Court Docket D-809-CR-2020-00140
Attorney B. Mondragon                                     Colfax
Raton NM                                                  April 28, 2021
By Dr. Karl Reich

Andersen v City of Chicago, et al.,                       16 CV 1963
Attorney Heather Donnell                                  U.S. District Court, Northern Division IL
Chicago IL                                                May 28, 2021
By Dr. Karl Reich

MN v T. Palodichuk                                        Court Case 02CR195135
Attorneys T. Dust, D. Nemer                               Anoka County
Anoka MN                                                  June 17, 2021
By Dr. Karl Reich

MN v T. Palodichuk                                        Court Case 02CR195135
Attorneys T. Dust, D. Nemer                               Anoka County
Anoka MN                                                  June 21, 2021
By Dr. Karl Reich

MD v William Andrew Wright, Jr.                           Court Case 118346020
Attorney Shannon Heery                                    Baltimore County
Baltimore MD                                              July 19, 2021
By Dr. Karl Reich

MD v Anthony D’Angelo Wilkins                             Matter ID 08-K-17-000241
Attorney Tanya Kappor                                     Charles County
La Plata MD                                               July 23. 2021
By Dr. Karl Reich
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Karl A. Reich                                                                         Page 14

COURT & DEPOSITION RECORD, CONT’D

IA v Sir Frank William Nelson III                         Court Case FECR236187
Attorney Kathryn Mahoney                                  Black Hawk County
Waterloo IA                                               September 16th, 2021
By Dr. Karl Reich

MD v Tyrone Harvin                                        Court Case XX-XXXXXXX
Attny Molly Ryan                                          Baltimore County
Baltimore MD                                              October 13, 2021
By Dr. Karl Reich

MD v A.M.Muldrow                                          Court Case C03CR19000763
Attny Elizabeth Crow                                      Baltimore County
Towson MD                                                 October 27, 2021
By Dr. Karl Reich

IL v Marquiese Talley                                     Court Docket 20CF425, 20CF426,
Attny Steve Muslin                                        Peoria County
Peoria IL                                                 December 1, 2021
By Dr. Karl Reich

U.S. v Nashiri                                            Military Commission
Attny K. Carmon                                           U.S. Naval Base
Guantanamo Bay, Cuba                                      December 08, 2021
By Dr. Karl Reich

U.S. v Nashiri                                            Military Commission
Attny K. Carmon                                           U.S. Naval Base
Guantanamo Bay, Cuba                                      December 09, 2021
By Dr. Karl Reich

Shaw (Granton) v. City of Chicago et al.                  Court Docket, 18-L-8034
Attny Bryce Hensley                                       Cook County
Lombard, IL                                               December 28th, 2021
Deposition by Dr. Karl Reich

IL v McGuire, Jr.,                                        Court Docket 2016 CF 2515
Attny Eric Pittman, J.P. Ivec                             Will County
Joliet IL                                                 January 10, 2022
By Dr. Karl Reich

IN v Sorgdrager                                           Court Docket 02D06-1905-F1-000009
Attny R. Gevers                                           Allen County
Fort Wayne, IN                                            March 2, 2022
By. Dr. Karl Reich

MD v Cazanga                                              Court Docket C-08-CR-20-000357
Attny A. Northrup                                         Charles County
Video testimony, La Plata                                 March 28, 2022
By Dr. Karl Reich
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COURT & DEPOSITION RECORD, CONT’D

MD v J.L.Sherriff                                           Court Docket C-18-CR-19-000202
Attny T. Pavlinic                                           St. Mary's County
Video testimony, Leonardstown                               May 9, 2022
By Dr. Karl Reich

MI v Arrington                                              Court Docket 18-06706
Attny. J. Sartz                                             Ingham County
Lansing MI                                                  May 17, 2022
By Dr. Karl Reich

WI v A. Anderson                                            Court Docket 20CF238
Attny N. Davis                                              Barron County
Video testimony, Barron                                     May 24, 2022
By Dr. Karl Reich

WI v J. Noblin                                              Court Docket 2019CF002482
Attny. K. Watson                                            Milwaukee County
Milwaukee WI                                                June 02, 2022
By Dr. Karl Reich

MD v. T. Harvin                                             Court Docket XX-XXXXXXX
Attny M. Ryan                                               Baltimore County
Baltimore MD                                                June 27, 2022
By Dr. Karl Reich

IL v C,. Guaderrama,                                        Court Docket 20 CR 04846
Attny A. Peraica                                            Cook County
Chicago IL                                                  July 20, 2022
By Dr. Karl Reich

IN v B. Benfer                                              Court Docket 35C01-2104-F3-000133
Attny K. Perry, A. Baldwin                                  Huntington County
Huntington IN                                               August 11, 2022
By Dr. Karl Reich

IL v K. Williams                                            Court Docket 16CF539
pro se                                                      Champaign County
Urbana IL                                                   August 24, 2022
By Dr. Karl Reich

IL v T. Clopton                                             Court Docket 21-CF-03
Attny B. Gullberg                                           Henderson County
Oquawka IL                                                  September 12, 2022
By Dr. Karl Reich

MI v Mr. Robert Reed [James Edwards]                        Court Docket 19-008049-01-FC
pro se (backup counsel, R. Nelson)                          Wayne County MI
Detroit MI                                                  September 21, 2022
By. Dr. Karl Reich
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COURT & DEPOSITION RECORD, CONT’D

MI v M. Lyon                                                Court Docket 19-000713-FC
Attny Keith Watson                                          Ingham County
Lansing MI                                                  September 22, 2022
By Dr. Karl Reich

MD v K. Cobey                                               Court Docket 40399C, 42227C
Attny Molly Ryan                                            Montgomery County
Rockville MD                                                September 23, 2022
By Dr. Karl Reich

Reyes/Solache v City Chicago et al                          Court Docket 1:18 Civ.1028 | 1:18 Civ.2312
Attny Sean Starr                                            Northern District Illinois
Chicago IL                                                  October 14, 2022
Deposition by. Dr. Karl Reich

MD v Marshall, M.J.                                         Court Docket #17-206
Attny J. Brown, L. Romero                                   Prince George County
Upper Marboro MD                                            October 26, 2022
By Dr. Karl Reich

Liggins v et al                                             Court Docket 20 CV 4085
Attny Russell Ainsworth                                     Northern District Illinois
Chicago IL                                                  November 10, 2022
Deposition by Dr. Karl Reich

Smith v et al                                               Court Docket 21-CV-1159
Attny Ariel Olstein                                         Northern District Illinois
Chicago IL                                                  November 11, 2022
Deposition by Dr. Karl Reich

WI v Frost                                                  Court Docket 93CF74
Attny Cole Ruby                                             Woods County WI
Wisconsin Rapids                                            November 15, 2022
By Dr. Karl Reich

Commonwealth v T. Rosa                                      Court Docket 8684CR57351-53
Attny R. Natarajan, C. Whitmore                             Suffolk County MA
Boston                                                      November 18, 2022
By Dr. Karl Reich

IL v C. Houlden                                             Court Docket 16-Cr-4687
Attny I. Federman, L. Federman                              Cook County IL
Markham                                                     December 15, 2022
By Dr. Karl Reich

NM v V. Gonzales                                            Court Docket D-202-CR-2020-1209
Attny R. Maestas                                            Bernalillo County New Mexico
Video testimony, Albuquerque NM                             December 15, 2022
By Dr. Karl Reich
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COURT & DEPOSITION RECORD, CONT’D

IN v. John Brickley                                         Court Docket 49D21-2010-F3-032241
Attny K. Perry                                              Marion County IN
Deposition                                                  January 25, 2023
By Dr. Karl Reich

IL v J. Bevely                                              Court Docket 2020-CF-596
Attny T. Thien                                              Williamson County IL
Marion IL                                                   February 10, 2023
By Dr. Karl Reich

IN v A. Cordova                                             Court Docket 29D02-2106-F3-003298
Attny K. Perry                                              Hamilton County IN
Deposition                                                  February 23, 2023
By Dr. Karl Reich

Simmer v et al                                              Court Docket 2:21 CV 100
Attny D. Owens                                              Western District, Washington
Deposition                                                  February 24, 2023
By Dr. Karl Reich

FL v Hairston                                               Court Docket 2021-CF-8312
Attny J. Dreicer, S. Day                                    Duval County
Jacksonville FL                                             March 02, 2023
By Dr. Karl Reichas

IN v C. Williams                                            Court Docket 33C02-1811-F1-000004
Attny. M. Nicholson                                         Henry County IN
New Castle IN                                               March 09, 2023
By Dr. Karl Reich

IL v Calhoun                                                Court Docket 20 CR 5599
Attny B. Donald-Kyei                                        Cook County IL
Chicago IL                                                  March 10, 2023
By Dr. Karl Reich

IL v D. Davidson                                            Court Docket 19CF2741
Attny Renee Amen                                            Lake County IL
Waukegan IL                                                 May 3, 2023
By Dr. Karl Reich

MI v J. Emmendorfer                                         Court Docket 2020-2480-FC
Attny Anastase Markou                                       Kalamazoo County
Kalamazoo MI                                                May 4th, 2023
By Dr. Karl Reich
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                              Expert Witness Fee Schedule
   Dr. K.A. Reich                                                                        Liz Kopitke, M.S.
Chief Scientific Officer                                                               DNA Technical Leader

DNA Expert Consultation Fees:
     Initial consultation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      N/C
     Consultation/Hour . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          *$350
     Consultation/Day . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        $2,500

Forensic DNA Case Review
       Case review, reanalysis, consultation . . . . . . . . . . . . . . . . . . . . . . . . *$2,000
       Report of Findings . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . *$2,000
       Legal Disclosure . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . *$250-500

Expert Testimony
       Testimony/Per Day/per session . . . . . . . . . . . . . . . . . . . . . . . . . . . .             $2,500
       Travel . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Std. Reimbursable Costs

Deposition
       Onsite (IFI) Deposition / Hour . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          *$350
       Offsite Deposition / Day . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     $2,500
       Travel . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Std. Reimbursable Costs


   *Reduced rates are available for governmental agencies, please enquire



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Case File
SOPs,
Proficiency testing records
Analyst C.V.s,
Job Description
Validation Studies

Case Observation @IFI-Daily Fee                                                                             $1,750.00

                                                  Effective Feb 2023
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             Exhibit B
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Karl A. Reich, Ph. D.
                                                      INDEPENDENT FORENSICS, 500 WATERS EDGE, SUITE 210 LOMBARD IL 60148
                                                                              karl@IFI-Test.com; P 708.234.1200; F 708.978.5115


 FORENSIC DNA / MOLECULAR BIOLOGY / MICROBIOLOGY / PROTEIN BIOCHEMISTRY
    MICROBIAL AND HUMAN FUNCTIONAL GENOMICS / PROTEIN PURIFICATION

Scientist with eight years post-graduate and fifteen years progressive experience in the pharmaceutical and biotechnology
industry. Proven track record of initiating, managing and leading product-oriented research in forensic DNA, genomics,
infectious diseases, pharmaceutical target identification functional genomics, biotherapeutics, molecular biology,
microbiology and strain development for industrial fermentation.

    •   Court Qualified DNA Expert Witness for Forensic DNA, Forensic Biology and Statistics – Testimony and
        depositions in more than one hundred forty cases in State, Federal, Military and International courts in both
        criminal and civil litigation.
    •   Security Clearance – details available upon request
    •   R & D project development and management from conception to market launch for forensic laboratory
        products.
    •   Developed, championed and implemented market-driven strategies for functional genomics biotech startup.
    •   R & D management experience in market-driven pharmaceutical, biotech and forensic DNA companies.
    •   R & D project development experience, including market analysis, target identification and validation, HTS,
        lead evaluation and animal efficacy trials.
    •   Led, built and managed research teams to implement strategic alliances, contract research and ’in-house’
        R & D in molecular biology, anti-infectives and strain development.


                                      PROFESSIONAL EXPERIENCE
INDEPENDENT FORENSICS, Lombard IL                                                                    8/2002 – Present
Chief Scientific Officer/Laboratory Director/Managing Partner for DNA Forensics, Paternity, and Molecular Biology laboratory.
  • Responsibility for development, validation, commercialization, production and manufacturing of new forensic-
    DNA based tests.
  • Supervisory responsibility for all laboratory operations, including validation, documentation, Q/A, Q/C, DNA
    testing, DNA analysis for forensics and paternity.
  • Responsibility for lab design, lab set-up, IT, molecular biology, software and system design and implementation.
  • PI on R & D contracts from federal law enforcement agency, PI on CDC SBIR grant, PI on DHS SBIR award.

ORCHID BIOSCIENCES, Long Island NY                                                                    4/2001 – 6/2002
Pharmaceutical Development for ‘virtual’ pharmaceutical company.
  • Responsibility for outsourcing of GMP synthesis of small molecule therapeutic compound.
  • Initiated, negotiated and supervised CRO managed ongoing Phase II clinical trial.
  • Supervised and outsourced FDA and EMEA fillings for Orphan Drug Status in Europe and U.S.A.
  • Project fully acquired (and terminated) by strategic partner, 6/2002.

INTEGRATED GENOMICS, Chicago, IL                                                                      4/2001 – 2/2002
Director of Pharmaceutical Development – Executive Management Team
Integrated Genomics is a startup functional genomics company focusing on a bioinformatic approach to solving industrial
biotechnology problems.
  • Responsibility for developing and implementing small molecule-based R & D for ‘niche’ anti-infectives markets.
  • Developed research programs for strategic partners in anti-infective biology, industrial strain improvement,
    flavors and fragrance industries and genomic databases.
  • Experience in, and responsible for, presenting research programs to pharmaceutical partners, venture capital funds
    and institutional investors.
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DNA & IMMUNOGENETICS INSTITUTE, Chicago IL                                                             6/2001 – 8/2002
Co-Director, Laboratory Services
DNA & Immunogentics Institute was the first independent DNA testing laboratory in Illinois and performed testing for paternity
determination, transplant matching and blood banks.
  • Paternity & Forensic DNA Testing
  • Blood Antigen Testing


ABBOTT LABORATORIES, Abbott Park IL                                                                   10/1996 – 4/2001
Abbott Laboratories is a mid-tier pharmaceutical company with a strong focus on small molecule therapeutics.
  • Directed, managed and led research group charged with cloning, expressing and purifying protein targets for
    pharmaceutical discovery and biotherapeutics using bacterial, insect and mammalian expression systems.
  • Led effort to identify alternative expression systems/hosts for ‘difficult’ protein classes.
  • Co-developed semi-automated cloning and expression system for HTS of protein targets.
Group Leader, Genomics and Molecular Biology.
  • Devised, championed and directed all phases of genomics-based research program for the identification of novel
    anti-bacterial targets, including microbiology, mol bio, HTS cloning and expression, and database management.
  • Identified and validated dozens of novel anti-bacterial targets.
  • Conceived and managed small molecule discovery projects; including HTS assay development, hit
    characterization, animal efficacy models, SAR determination and toxicity profiles.
  • Initiated proteomics program in Haemophilus influenzae.
  • Developed and fabricated H. influenzae micro-array for inhibitor mode of action studies.
  • Initiated and directed numerous external scientific collaborations.
  • Developed broad knowledge base of genomic techniques, applications and technologies including SNPs,
    pharmacogenomics, proteomics, HTS sequencing, public and proprietary genomic databases.


STANFORD UNIVERSITY SCHOOL OF MEDICINE, Stanford CA                                           10/1990 - 10/1996
Howard Hughes Research Fellow, Laboratory of Dr. Gary Schoolnik
  • Developed research program on luminescent bacterial symbiont, Vibrio. fischeri.
  • Discovered novel ADP-ribosyltransferase in culture supernatants of V. fischeri.
  • Purified and cloned (using reverse genetics) novel ADP-ribosyltransferase from V. fischeri.
  • Developed genetic system for V. fischeri, - targeted knock-outs for gene function identification.
  • Initiated collaborative research with USC marine biology laboratory on symbiont/host interactions.
Post-doctoral fellow, Laboratory of Dr. Gary Schoolnik
  • Developed research program on structure/function relationship of trans-membrane transcriptional activator,
     ToxR, in V. cholerae.
  • Analyzed distribution of ToxR genes in environmental Vibrio isolates.
  • Cloned, sequenced and characterized ToxR gene from luminescent marine bacterium, V. fischeri.


INSTITUT PASTEUR, Paris, France                                                               10/1988 – 10/1990
Fogarty Post-Doctoral Research Fellow
  • Developed mono-clonal antibodies against membrane active toxin of Listeria monocytogenes.
  • Developed novel, large scale purification protocol for listeriolysin.
  • Participated in in vivo tests of single amino acid substituted L. monocytogenes isogenic strains.
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                                     PRIOR RELATED EMPLOYMENT

UCLA, Los Angeles CA
Dept of Biological Chemistry, Laboratory of Dr. D. Sigman                                          1979-1982
Research Assistant
  • Analysis of non-enzymatic cleavage of DNA by 1,10-orthophenanthroline Copper.
  • Synthesized chemical derivatives of 1,10-orthophenanthroline.
  • Recombinant over-expression and purification of E. coli DNA Polymerase.

HARVARD MEDICAL SCHOOL, Boston MA
Dept. of Neurobiology, Laboratory of Dr. T. Wiesel                                                   1977-1979
Research Assistant
  • Developed micro-bore HPLC for amino acid analysis of retinal homogenates.
  • General laboratory duties, including ordering, organization and solution preparation for histology and EM.

CORNELL UNIVERSITY, Ithaca, NY                                                                 summer 1976
Laboratory of Dr. E. Ellson
 Summer intern Low angle light scattering analysis of liposome preparations.

ROCKEFELLER UNIVERSITY, New York NY                                                                summer 1975
Laboratory of Dr. N. Zinder
 Summer intern Production, purification and use of mini-cells as ‘cell free’ protein translation system.


                                                  EDUCATION

UCLA / HARVARD MEDICAL SCHOOL                                                                      1982-1988
Ph.D. Molecular Biology
  • Thesis: Enzymic Studies on Diphtheria Toxin Fragment A

CORNELL UNIVERSITY                                                                                 1973-1977
B.A. Chemistry


                                                 LANGUAGES
  •   ENGLISH, FRENCH


                                               PUBLICATIONS:
1. D.R. Graham, L.E. Marshall, K.A. Reich and D.S. Sigman, "Cleavage of DNA by Coordination
   Complexes. Superoxide Formation in the Oxidation of 1,10- Phenanthroline-Cuprous Complexes by
   Oxygen. Relevance to DNA-Cleavage Reaction," J. Amer. Chem. Soc., 102, 5419 (1980).

2. L.E. Marshall, D.R. Graham, K.A. Reich and D.S. Sigman, "Cleavage of DNA by the 1,10-
   Phenanthroline-Cuprous Complex. Hydrogen Peroxide Requirement and Primary and Secondary
   Structure Specificity," Biochemistry, 20, 244 (1981).
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3. K.A. Reich, L.E. Marshall, D.R. Graham and D.S. Sigman, "Cleavage of DNA by the1,10-
   Phenanthroline-Cuprous Complex. Superoxide Mediates the Reaction Dependent on NADH and
   Hydrogen Peroxide," J. Amer. Chem. Soc., 103, 3582 (1982).

4. L.M. Pope, K.A. Reich, D.R. Graham and D.S. Sigman, "Products of DNA Cleavage by the 1,10-
   Phenanthroline-Cuprous Complex. Product Analysis," J. Biol. Chem., 257, (20) 12121 (1982).

5. J.D.L. Harpe, K.A. Reich, E. Reich and E.B. Dowdle, "Diamphotoxin: The Arrow Poison of the !Kung
   Bushmen," J. Biol. Chem., 258, (19) 11924 (1983).

6. B.L. Kagan, K.A. Reich and R.J. Collier, "Orientation of the Diphtheria Toxin Channel in Lipid
   Bilayers," Biophys. J., 45, 102 (1984).

7. P. Berche, K.A. Reich, M. Bonnichon, J.L. Beretti, C. Geoffroy, J. Raveneau, P.Cossart, J.L. Gaillard, P.
   Geslin, H. Kreis and M. Veron, "Detection of Anti-Listeriolysin O for Serodiagnosis of Human
   Listeriosis," Lancet, 335, 624-627 (1990).

8. B.A. Wilson, K.A. Reich, B.R. Weinstein and R.J. Collier, "Active-Site Mutations of Diphtheria Toxin:
   Effects of Replacing Glutamic Acid-148 with Aspartic Acid, Glutamine or Serine," Biochemistry, 29,
   8643-8651 (1990).

9. E. Michel, K.A. Reich, R. Favier, P. Berche and P. Cossart, "Attenuated Mutants of the Intracellular
   Bacterium Listeria monocytogenes obtained by Single Amino-Acid Substitutions in Listeriolysin O,"
   Molecular Microbiology, 4 (12), 2167-2178 (1990).

10. F. Nato, K.A. Reich, S.Hopital, S. Rouyre, C. Geoffroy, J.C. Mazie and P. Cossart, "Production and
   Characterization of Monoclonal Antibodies against Listeriolysin O (LLO), the Thiol Activated Hemolysin
   of Listeria monocytogenes: Neutralizing Antibodies are Specific for LLO," Infection and Immunity,
   59(12), 4641-4646 (1991).

11. K.A. Reich and G. K. Schoolnik, "The Light Organ Symbiont Vibrio fischeri Possesses a Homologue of
   the Vibrio cholerae Transmembrane Transcriptional Activator ToxR", J. Bacteriology, 176(10), 3085-
   3088 (1994).

12. B. Wilson, S.R. Blanke, K.A. Reich and R. John Collier, "Active-Site Mutations of Diphtheria Toxin.
   Tryptophan 50 is a Major Determinant of NAD Affinity. J. Biol. Chem., 269(37), 23296-23301, (1994)

13. K.A. Reich and G.K. Schoolnik, “Halovibrin, Secreted from the Light Organ Symbiont, Vibrio fischeri,
   Is a Member of a New Class of ADP-ribosyltransferases,” J. Bacteriology, 178 (1), 209-215 (1996).

14. K.A. Reich, T. Biegel and G.K. Schoolnik, “The Light Organ Symbiont Vibrio fischeri Possesses Two
   Distinct Secreted ADP-ribosyltransferases,” J. Bacteriology, 179(5), 1591-1597 (1997).

15. E. P. Rock, K. A. Reich, D. M. Lyu, M. Hovi, J. Hardy, G. K. Schoonik, B. A. D. Stocker and V.
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16. L. Katz, D. T. Chu and K.A. Reich. "Bacterial Genomics and the Search for Novel Antibiotics,"
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17. P. Zhong, Z. Cao, R. Hammond, Y. Chen, J. Beyer V.D. Shortridge, L. Phan, S. Pratt, J. Capobianco, K.
   A. Reich, B. Flamm, Y. S. Or and L. Katz. "Induction Ribosome Methylation in MLS-resistant
   Streptococcus pneumoniae by macrolides and ketolides”, Microb Drug Resist; 5(3), 183-188, (1999).

18. K. A. Reich, P. Hessler, L. Chovan, “Genome Scanning in Haemophilus influenzae: in vitro
   transposition and PCR analysis for the identification of ‘essential genes’, J. Bacteriology, 181(16), 4961-
   4968, (1999).
19. K. A. Reich, “The search for essential genes”, Res Microbiol 151(5), 319-324, (2000)

20. Stabb E. V., K. A. Reich, E. G. Ruby, “Vibrio fischeri genes hvnA and hvnB encode secreted NAD(+)-
   glycohydrolases”, J. Bacteriol., 183(1), 309-317(2001).

21. Tack, L. C., M. Thomas, K.A. Reich, Automated Forensic DNA Purification Optimized for FTA Card
   Punches and Identifiler STR-based PCR Analysis, Clin Lab Medicine, 27(1), 183-9, 2007.

22. Johan H. Melendez, Julie A. Giles, Jeffrey D. Yuenger, Tukisa D. Smith, Khalil G. Ghanem, Karl Reich
   and Jonathan Zenilman. Detection and Quantification of Y Chromosomal Sequences by Real-Time PCR
   Using the LightCycler System, Sexually Transmitted Diseases, March 2007, Vol. 34, No. 3, 2007.

23. Brett Schweers, Jennifer Old, P.W. Boonlayangoor and Karl Reich, Developmental Validation of a
   Novel Lateral Flow Strip Test for Rapid Identification of Human Blood (Rapid Stain Identification™-
   Blood), Forensic Science International, 2, 243-247, 2008.

24. Jennifer Old, Brett Schweers, Jennifer Old, P.W. Boonlayangoor and Karl Reich, Developmental
   Validation of RSIDTM-Saliva; A Lateral Flow Immunochromatographic Strip Test for the Forensic
   Detection of Saliva, J Forensic Sci.,54 (4), 866-873, 2009.

25. Kevin W.P. Miller, Ph.D., Jennifer Old, Ph.D. , Brian R. Fischer, B.S., Brett Schweers, Ph.D. , Simona
   Stipinaite, B.S., and Karl Reich, Ph.D. Developmental validation of the SPERM HY-LITER™ kit for the
   identification of human spermatozoa in forensic samples. J. Forensic Sci., 56 (4); 853-865, 2011.

26. Jennifer Old, Ph.D., Brett A. Schweers, Ph.D., P.W. Boonlayangoor, Ph.D.1, Brian Fischer, B.S., Kevin
   W.P. Miller, Ph.D., and Karl Reich, Ph.D. Developmental Validation of RSID™ -Semen: A Lateral Flow
   Immunochromatographic Strip Test for the Forensic Detection of Human Semen. J. Forensic Sci., 57(2);
   489-499, 2012.

27. Alexander Sinelnikov, Anna Kalinina, Jennifer B. Old, Pravatchai W. Boonlayangoor and Karl A. Reich
   Evaluation of Rapid Stain IDentification (RSID™) Reader System for Analysis and Documentation of
   RSID™ Tests, Appl. Sci. 2013, 3(3), 624; Published online: 5 August 2013

28. Alexander Sinelnikov, K.A. Reich, Amplicon Rx™, Post-PCR Clean-up and Concentration Specifically
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ABSTRACTS

New Approach to Statistical Reporting for Forensic DNA Analysis: Boonlayangoor, A. W., Reich, K.A., and
Boonlayangoor, P.W. Published at the 14th International Symposium on Human Identification, Promega
Corporation, Phoenix Arizona. September 29-October 2, 2003.
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Utilizing Proficiency Testing Survey Results in Forensic DNA Laboratories.
Karl A. Reich, Liz A. Graffy and P.W. Boonlayangoor. Published at the 15th International Symposium on
Human Identification, Promega Corporation, Phoenix Arizona. October 4-7, 2004.

A Novel Lateral Flow Strip Test for Rapid Identification of Human Semen (Rapid Stain Identification-
Semen), 17th International Symposium on Human Identification, Jennifer Old, Brett A. Schweers, P.W.
Boonlayangoor & Karl Reich, Nashville Tennessee October 8-12, 2006.

A Novel Lateral Flow Strip Test for Rapid Identification of Human Saliva (Rapid Stain Identification-
Saliva), 17th International Symposium on Human Identification, Jennifer Old, Brett A. Schweers, P.W.
Boonlayangoor & Karl Reich, Nashville Tennessee October 8-12, 2006.

A Novel Lateral Flow Strip Test for Rapid Identification of Human Blood (Rapid Stain Identification-
Blood), 17th International Symposium on Human Identification, Jennifer Old, Brett A. Schweers, P.W.
Boonlayangoor & Karl Reich, Nashville Tennessee October 8-12, 2006.

Developmental Validation of SPERM HY-LITER™: A Specific, Sensitive, and Confirmatory Screening
Method for Human Sperm from Sexual Assault Evidence Jennifer Old, Brett A. Schweers, P.W.
Boonlayangoor & Karl A. Reich 19th International Symposium on Forensic Sciences, ANZFSS Melbourne
meeting – October 2008

Developmental Validation of SPERM HY-LITER™: A Specific, Sensitive and Confirmatory Screening
Method for Human Sperm Detection from Sexual Assault Evidence. 19th International Symposium on
Human Identification. Jennifer Old*, Brett A. Schweers*, P.W. Boonlayangoor & Karl Reich - Promega
HID meeting - October 2008

Case Study: Analysis of an anorectal swab alleged to contain canine sperm using a fluorescently labeled
human sperm head specific antibody. 19th International Symposium on Human Identification. Marisa
Farhner, Brett A. Schweers & Karl Reich – Promega HID meeting - October 2008

Summary Results of a Blinded Study on the Effectiveness and Efficiency of using SPERM HY-LITER™ to
Screen Sexual Assault Evidence for Sperm. 20th International Symposium on Human Identification. Jennifer
Old Ph.D., Marisa Fahrner MS, Jie Wu Ph.D., Christian G. Westring Ph.D., P.W. Boonlayangoor Ph.D. and
Karl Reich Ph.D.

Mapping Duct Tape for the Presence of Saliva Using Phadebas Press Sheets, 23rd International Symposium
on Human Identification, Lynette Johns B.S., Pravat Boonlayangoor Ph.D. and Karl A. Reich Ph.D.

Substrate Controls – A Simple Story 24rd International Symposium on Human Identification, Lynette Johns
B.S., P.W. Boonlayangoor Ph.D. & Karl A. Reich Ph.D.

Solution For Partial Profiles: Amplicon Rx™ Post-PCR Clean-up Kit, 24rd International Symposium on
Human Identification Alex Sinelnikov and Karl A. Reich

A bridge between two previously separate forensic disciplines: latent examination and DNA profiling.
Development of new materials, methods and procedures for the collection of enhanced latent friction ridge
impressions (fingerprints) and DNA profiling from the same evidence. 101St International Association of
Identification, Alex Sinelnikov, Ph.D., Dyer Bennet, Karl Reich, Ph.D.
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An Efficient and Effective Protocol for Identifying Sperm from Anal Swabs Using SPERM HY-LITER
EXPRESS, 27th International Symposium on Human Identification, Jennifer B Old; Anna K Trobe, Karl A.
Reich and P.W. Boonlayangoor

A New Tool to Assist Criminal Investigators: DNA-STR Profiles from “Skin and Oil” Fingerprints, 27th
International Symposium on Human Identification, Alexander Sinelnikov, P.W. Boonlayangoor and Karl A.
Reich

PCR-Based tests for the Forensic Detection of Feces: Use of Bacteroides species indicators of Fecal
Contamination, 27th International Society for Forensic Genetics, A. Sinelnikov, E. Kopitke, K. Reich

Material and Methods that Allow Fingerprint Analysis and DNA Profiling from the Same Latent Evidence.
27th International Society for Forensic Genetics, A. Sinelnikov and K. Reich


TRAINING CLASSES

Illinois Institute for Continuing Legal Education (IICLE) – Chicago IL September 2006
Faculty for IICLE DNA Evidence Course. Introduction to DNA and DNA Evidence for legal Professionals.
Evidence, DNA Matching, Statistics, Defense and Prosecution Strategies, Case Review

Illinois Institute for Continuing Legal Education (IICLE) – Bloomington IL September 2006
Faculty for IICLE DNA Evidence Course. Introduction to DNA and DNA Evidence for legal Professionals.
Evidence, DNA Matching, Statistics, Defense and Prosecution Strategies, Case Review

Illinois Institute for Continuing Legal Education (IICLE) – Chicago IL March 2007
Faculty for IICLE Defending Illinois Death Penalty Case – Cold Hits and Cold Cases: DNA Databases and
New Technologies in Forensic DNA.

Illinois Institute for Continuing Legal Education (IICLE) – Fairview Heights IL November 2007
Faculty for IICLE Defending Illinois Death Penalty Case – Cold Hits and Cold Cases: DNA Databases and
New Technologies in Forensic DNA.

Southwest Association of Forensic Sciences (SWAFS) – Austin TX October 10, 2007. Training workshop:
Next Generation Sperm and Body Fluid Identification Tests: SPERM HY-LITER™ and RSID™-Saliva,
Blood and Semen. Instructors: Karl Reich and Nadine Mattes.
Louisiana Association of Forensic Sciences (LAFS) – Baton Rouge LA, October 24, 2007. Training
Workshop: Fluorescent Detection of Sperm from Sexual Assault Evidence. Instructors: Karl Reich and
Nadine Mattes.

Northwestern Association of Forensic Scientists (NWAFS) – Salt Lake City UT –November 5, 2007.
Training Workshop: Sensitive and Specific Fluorescent Detection of Human Sperm. Instructor: Karl Reich

McCrone College of Microscopy, COM700: Body Fluid Identification and Microscopic Methods of Sperm
Detection for Forensic DNA/Serology/Biology. Instructor for Training class on human body fluid
identification. December 11-13, 2007.
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McCrone College of Microscopy, COM700: Body Fluid Identification and Microscopic Methods of Sperm
Detection for Forensic DNA/Serology/Biology. Instructor for Training class on human body fluid
identification. April 22-24th, 2008.

Mid-Atlantic Association of Forensic Scientists (MAAFS) – Huntington WV – April 30th, 2008. Training
Workshop: Body Fluid Identification from Sexual Assault Evidence. Instructor for Training class on human
body fluid identification.

McCrone College of Microscopy, COM700: Body Fluid Identification and Microscopic Methods of Sperm
Detection for Forensic DNA/Serology/Biology. Instructor for Training class on human body fluid
identification. August 19-21th, 2008.

Southwest Association of Forensic Sciences (SWAFS) – Little Rock AK September 25th, 2008 Training
workshop: Next Generation Sperm and Body Fluid Identification Tests: SPERM HY-LITER™ and RSID™-
Saliva, Blood and Semen. Instructors: Karl Reich and Ruben Nieblas.

Midwest Association of Forensic Scientists (MAFS) – Des Moines IA – September 30th, 2008. Training
Workshop: Body Fluid Identification from Sexual Assault Evidence. Instructors for Training class on human
body fluid identification Ruben Nieblas and Karl Reich.

McCrone College of Microscopy, COM700: Body Fluid Identification and Microscopic Methods of Sperm
Detection for Forensic DNA/Serology/Biology. Instructor for Training class on human body fluid
identification. December 2-4th, 2008.

SAFS/SWAFS/MAFS Combined Meeting Workshop: Current Topics and Development in Body Fluid
Identification and Source Attribution. Instructor for Training Class on human body fluid identification for
forensic DNA analysts. October 20th, 2009

SWAFS Workshop on Identification and Isolation of sperm from sexual assault evidence. Instructor for
hands-on training class, LCM and SPERM HY-LITER™. September 23, 2010.

NEAFS/NEDIAI Combined Meeting Workshop: Forensic Body Fluid Identification Techniques – Hands-on
Short Course for Saliva, Blood, Urine, Semen and Sperm. November 8th 2010.

CAC Workshop on Body Fluid Identification: Blood, Saliva Semen, Urine and Sperm. Hands-on training
class, Instructors Karl Reich and Dina Mattes, Bakersfield CA, May 8th, 2012.

Primer Seminario Taller Iberoamericano de Nuevas Technologia en Analisis de Fluidos Biologicos Y Nueva
Generacion de Secuenciacon, Instructors Karl Reich and Helga Langthon, Panama October 19th, 2015

SWAFS Workshop on Body Fluid Identification and New Technologies and Trends in Forensic DNA,
Instructors Karl Reich and Dina Mattes, Oklahoma City, October 21, 2015.

MAFS/SAFS Workshop: Rescue DNA – LCM, Post-PCR, Touch DNA, Instructors Karl Reich, Jennifer Old
and Dina Mattes, Cincinnati, OH, September 20th, 2017
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Karl A. Reich                                                                                            Page 9

                                         CONTINUING EDUCATION

American Academy of Forensic Sciences 67th Annual Meeting                                                  Feb 2015
Southwestern Association of Forensic Scientists,                                                           Oct 2015
26th International Symposium on Human Identification                                                       Sep 2015
American Academy of Forensic Sciences 68th Annual Meeting                                                  Feb 2016
27th International Symposium on Human Identification                                                       Sep 2016
interForensics, Conferencia Internacional de Ciencias Forenses                                             May 2017
28th International Symposium on Human Identification                                                       Oct 2017
ASCLD Symposium                                                                                            May 2017
9th Asian Forensic Sciences Network                                                                        Sep 2017
27th Congress of the International Society for Forensic Genetics                                           Sep 2017
29th International Symposium on Human Identification                                                       Sep 2018
28th Congress of the International Society for Forensic Genetics                                           Sep 2019
11th Annual Meeting & Symposium Asian Forensic Science Network,                                            Sep 2019
American Academy of Forensic Sciences 72nd Annual Meeting                                                  Feb 2020
American Academy of Forensic Sciences 74th Annual Meeting                                                  Feb 2022
29th Congress of the International Society for Forensic Genetics                                           Sep 2022
American Academy of Forensic Sciences 75th Annual Meeting                                                  Feb 2023
Thedford Garber Law, Third Annual Criminal Defense and Civil Rights CLE Conference                        .Mar 2023

                                  COURT & DEPOSITION EXPERIENCE:
Dr. Reich has been court qualified as an Expert in Forensic DNA, Forensic Biology and the interpretation of
Forensic DNA Statistics in the following jurisdictions (in alphabetical order):
        California                                                       Missouri
        Dublin (Ireland)                                                 Nebraska
        Florida                                                          New Jersey
        Illinois                                                         New Mexico
        Indiana                                                          New York
        Iowa                                                             Ohio
        Kentucky                                                         South Dakota
        Massachusetts                                                    Virginia
        Maryland                                                         Washington D.C.
        Michigan                                                         Wisconsin
        Minnesota
This includes cases in State and Federal courts on both criminal and civil matters. Additional details
available upon request.

Note:
Forensic DNA is defined as the methods, procedures, protocols, regulations, standards, and underlying science used to
process samples, both evidentiary and reference, for obtaining genetic identity information. The collection, storage,
processing, analysis of forensic evidence and the interpretation of such data are included in this definition.

Forensic Biology is defined as the methods, procedures, protocols, regulations, standards, and underlying science used
to identify body fluids (blood, saliva, semen, urine and feces) and to identify spermatozoa from forensic evidence. The
collection, storage, processing, analysis of forensic evidence and interpretation of such data are included in this
definition.
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Karl A. Reich, Ph. D.
                                          INDEPENDENT FORENSICS, 500 WATERS EDGE, SUITE 210 LOMBARD IL 60148
                                                               karl@IFI-Test.com; P 708.234.1200; F 708.978.5115


COURT & DEPOSITION RECORD

Amy Gorac v. George Gorac:                       02D2244/September 15, 2004
Attorney Steve Deitch
DuPage County, IL
Deposition by: Dr. Karl A. Reich

People v. Derrick Lee                            00CR 28948/March 14, 2005
Atty. Charles K. Piet
Chicago, IL
By: Dr. Karl Reich

People vs. Edgar Mullin,                         03CR 5752/June 27, 2005
Atty. Leroy Cross
Chicago, IL
By: Dr. Karl Reich

People vs. Juan Luna Jr.                         02CR 15430/June 9, 2006
Attorney Clarence L. Burch/Allan Sincox
Chicago, Il
Deposition by: Dr. Karl A. Reich

People vs. Octavia Anima                         03CR 17306/March 14, 2007
Attorney Gigi Gilbert
Chicago, IL
By: Dr. Karl A. Reich

People vs. Juan Luna Jr.                         02CR 15430/May 1, 2007
Attorney Clarence L. Burch/Allan Sincox
Chicago, Il
By: Dr. Karl A. Reich

Will County vs. Kevin Fox                        04C7309/October 9, 2007
Attorney Kathleen T. Zellner
Oak Brook, IL
Deposition by: Dr Karl A. Reich

Will County vs. Kevin Fox                        04C7309/December 6, 2007
Attorney Kathleen T. Zellner
Dirksen Federal Court, Chicago, IL
By: Dr Karl A. Reich
People vs. Diane Thames                          05CR 21070
Attorney Kathleen T. Zellner                     January 17, 2008
Rolling Meadow Road, Palatine, IL
By: Dr Karl A. Reich

Commerce Bank v. Widger, et al                   U.S. District
Attorney James P. Ginzkey                        Court No. 06-CV-1103
At IFI, Hillside IL                              June 3, 2008
Deposition by: Dr. Karl A. Reich
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COURT & DEPOSITION RECORD, CONT’D

Harold Hill v. City of Chicago, et al
Attorney Russell Ainsworth                   Court No. 06C 6772
30 North LaSalle Street, Chicago, IL         July 18, 2008
Deposition by: Dr. Karl A. Reich

People v. John Garfield                      06CR 6123
Attorney Ms Christa Petty                    Feb. 25, 2009
Chicago, IL
By: Dr. Karl Reich

U.S.A. v. Seth Hornedeagle                   U.S. District
Attorney Anthony White                       Court, No 08CR046RB
Las Cruces, NM                               April 9th, 2009
By: Dr. Karl Reich

People v. Jacob Young                        C06-047071
Attorney Ms Christa Petty                    July 10, 2009
Chicago, IL
By: Dr. Karl Reich

Donny McGee v. City of Chicago               08L 3503/
Attorney Russell Ainsworth                   04CV 6352
53 West Jackson Blvd, Suite 1800             October 29, 2009
Chicago IL 60604
Deposition by: Dr. Karl A. Reich

U.S.A. v. Theodore Largo                     U.S. District
Attorney Steve Aarons                        Court, No 1:08-CR02830JCH-1
Albuquerque, NM                              May 10th & May 11th, 2010
By: Dr. Karl Reich

Donny McGee v. City of Chicago               IL State Court
Attorney Russell Ainsworth                   04CV 6352
50 West Randolph Street                      May 26th, 2010
Chicago IL
By: Dr. Karl Reich


People v. Viliufo Escobar                    07 CR 5255
Attorney Dan Nolan                           July 15, 2010
Bridgeview IL
By: Dr. Karl Reich

People v. Brian Andvik                       73-Cr-10-17
Attorney Thomas Murtha                       Stearns County, MN
Attorney Rich Kenly                          July 16, 2010
St. Cloud MN
By: Dr. Karl Reich
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Karl A. Reich                                                                        Page 3

COURT & DEPOSITION RECORD, CONT’D

U.S.A v Theodore Largo                       Cr.No.08-2830
Attorney Steven Aarons                       July 28, 2010
Albuquerque, NM
By: Dr. Karl Reich

State v. Vasily London                       Case# 07017348CF10A
Attorney: Viviane Gariboldi                  Broward County, FL
Attorney Joanna Nagy                         November 15th, 2010
Broward County, FL
By Dr. Karl Reich

State v. Willie Baldwin                      Case# 07CR 1301, O7CR 1302
Attorney: Deana Binstock                     Cook County, IL
Chicago IL                                   December 2nd& 3rd 2010
By Dr. Karl Reich

DPP v. Colm Quigley                          Laboratory Case # 08/07979
Solicitor: Tony O’Malley                     Ref# 17619/2008
Barrister: Michael Delaney SC                January 20th, 2011
Dublin
Ireland
By Dr. Karl Reich

State v. Thomas Soule                        Case# 09 CF-178,
Attorney Randall Morgan                      Livingston County
Pontiac IL                                   March 7th, 2011
By Dr. Karl Reich

State v. Daniel Cleary                       Case# 10-CF-205
Attorney John Lonergan                       Tazewell County
Pekin IL                                     March 8th, 2011
By Dr. Karl Reich

State v. Crandall Williams                   Case# 08 CR 07754
Attorney John Wilson                         Cook County
Attorney Brian Walsh                         March 11th, 2011
Markham IL
By Dr. Karl Reich

State v. Olushola Aleem                      Case# 109139012
Attorney Andrew Northrup                     Baltimore County
Attorney Karyn Meriwether                    May 5th, 2011
Baltimore MD
By Dr. Karl Reich

State v. Jonnie Butler                       Case# 109288023
Attorney Jeff Gilleran                       Baltimore County
Attorney Karyn Meriwether                    October 13th, 2011
Baltimore MD
By Dr. Karl Reich
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Karl A. Reich                                                                         Page 4

COURT & DEPOSITION RECORD, CONT’D

State v. Dauda Kohlheim                      Case# 99-08-72019
Attorney Galyard Williams                    St. Louis County
St. Louis / Clayton MO                       November 3rd, 2011
By Dr. Karl Reich

People v. Lazerrick Mosley                   Case# 09CR 4024
Attorney Dan Nolan                           Cook County
Markham IL                                   November 9th, 2011
By Dr. Karl Reich

People v. Brandon Starks                     Case# 10CR 3064
Attorney Charles Pinkston                    Cook County
Chicago IL                                   December 8th, 2011
By Dr. Karl Reich

People v. Edward Taylor                      Case# 09CR 222430
Attorney Winona Agbabiaka                    Cook County
Chicago IL                                   February 28th, 2012
By Dr. Karl Reich

People v. Willie Baldwin                     Case# 07-CR-1301, 02
Attorney Deana Binstock                      Cook County
Chicago IL                                   March 2nd, 2012
By Dr. Karl Reich

People v. Eric Hinton                        Case 119168, Matter ID XX-XXXXXXX
Attorney Sherryl Statland                    Montgomery County
Rockville MD                                 March 14, 2012
By Dr. Karl Reich

People v. Charlie Lewis                      Court Case # 27-CR-10-7607
Attorney Catherine Turner                    Hennepin County
Minneapolis MN                               March 26th, 2012
By Dr. Karl Reich

People v. John Ferryman                      Court Case# 98 CF 1709
Attorney Valerie Pacis                       DuPage County
Wheaton IL                                   April 12th, 2012
By Dr. Karl Reich

People v. John Ferryman                      Court Case# 98 CF 1709
Attorney Valerie Pacis                       DuPage County
Wheaton IL                                   May 14h, 2012
By Dr. Karl Reich

People v. Robert Anderson                    Court Case #03-07356
Attorney Steve Richards                      Cook County
Chicago IL                                   August 24, 2012
By Dr. Karl Reich
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Karl A. Reich                                                                          Page 5

COURT & DEPOSITION RECORD, CONT’D

People v. Gregory Nania                      Court Case# 2009 CF-2144
Attorney Mr. Dan Cain                        Winnebago County
Rockford IL                                  September 6, 2012
By Dr. Karl Reich

Kina Burgs v. Chicago Police                 Court Case# 07 L 6885
Attorney M. LeCompte                         Cook County
Lombard IL                                   January 8th, 2013
Deposition by Dr. Karl Reich

State of Ohio v. David Ayers                 Court Case CR 388738
Attorney Mr. Russell Ainsworth               Cuyahoga County
Cleveland OH                                 March 4th, 2013
By Dr. Karl Reich

People v. Eric Bernard                       Court Case 10 CF 306
Mr. Eric Bernard acting pro se               DeKalb Countty
Sycamore IL                                  March 15, 2013
By Dr. Karl Reich

People v. Anthony Triplett                   Court Case 07- CR-1330; 07-CR-2970
Attorney Jack Rimland, Allan Sincox          Cook County
Chicago IL                                   May 9th, 2013
By Dr. Karl Reich

Florida v. Danny Johnson                     Court Case 11-2655CF10A
Attorney Donald Cannarozzi                   Broward County
Chicago IL                                   May 13th, 2013
Deposition by Dr. Karl Reich

Stanfield v. Cook County                     Court Case 10 C 6569
Attorney Luke Casson                         U.S. District Court, Chicago IL
Chicago IL                                   May 22nd, 2013
By Dr. Karl Reich

People v. Eric Bernard                       Court Case 10 CF 306
Mr. Eric Bernard acting pro se               DeKalb County
Sycamore IL                                  June 13, 2013
By Dr. Karl Reich

People v. Brian D. Allen                     Court Case M-148-2012 V
Attorney Michelle Potoczny Gu, Mark Wolber   Saratoga County
Saratoga NY                                  July 24, 2013
By Dr. Karl Reich

Florida v. Johnathan Holte                   Court Case 2009CF2362
Attorney Joe Campoli                         Manatee County
Bradenton FL                                 November 18th, 2013
By Dr. Karl Reich
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COURT & DEPOSITION RECORD, CONT’D

Florida v. Danny Johnson                     Court Case 11002655CF10A
Attorney: Don Cannarozzi                     Broward County
Ft. Lauderdale FL                            December 18th, 2013
By Dr. Karl Reich

IL v. Eric Bernard                           Court Case 10 CF 306
Attorney Daniel Transier                     DeKalb County
Sycamore IL                                  February 6, 2014
By Dr. Karl Reich

Indiana v. Arthur Lee Gates, Jr.             Court Docket 82A01-0806-CR-302
Attorney Bill Polansky                       Vanderburgh County
Evansville IN                                March 5th 2014
By Dr. Karl Reich

IL v. Kevin Oldaker                          Court Docket 2010 CF 447
Attorney Azhar Minhas                        Boone County
Belvidere IL                                 March 12th, 2014
By Dr. Karl Reich

IL v. James Hampton                          Court Docket 07 CR 4582
Attorney Scott Kozicki                       Cook County
Chicago IL                                   March 24, 2014
By Dr. Karl Reich

MD v. Darius Keenan                          Court Docket K-2013-2005, ID XX-XXXXXXX
Attorney Jeff Gilleran                       Anne Arundel County
Attorney William Davis                       April 09, 2014
Annapolis MD
By Dr. Karl Reich

MD v. Darius Keenan                          Court Docket K-2013-2005, ID XX-XXXXXXX
Attorney Jeff Gilleran                       Anne Arundel County
Atorney William Davis                        April 25, 2014
Annapolis MD
By Dr. Karl Reich

Hubert Burgs v City of Chicago               US Federal Court, 1:2013cv01988
Attorney Marcelle LeCompte                   Illinois Northern District
Chicago IL                                   Chicago IL
By Dr. Karl Reich                            September 23, 2014

U.S. v Demonta Chappell                      US Federal Court, 2013-CF1-2097
Attorney Chris Roberts                       District of Columbia
Washington D.C.                              October 16th, 2014
By Dr. Karl Reich

IL v Stephen Johnson                         Court Docket 11 CR 5008
Attorney Richard Dvorak                      Cook County
Markham IL                                   November 20th, 2014
By Dr. Karl Reich
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Karl A. Reich                                                                          Page 7

COURT & DEPOSITION RECORD, CONT’D

IL v Demetrious Beal                         Court Docket 12 CF 2382
Attorney Cosmo Tedone                        Will County
Joliet IL                                    December 18th, 2014
By Dr. Karl Reich

Indiana v. Arthur Lee Gates, Jr.             Court Docket 82A01-0806-CR-302
Attorney Bill Polansky                       Vanderburgh County
Evansville IN                                January 23rd 2015
By Dr. Karl Reich

Illinois v Jerome Robertson                  Court Docket 12 CR 2391
Attorney Steven Fagan                        Cook County
Markham IL                                   February 26, 2015
By Dr. Karl Reich

Sarah Pyles v Village of Manteno et al       Case No. 13 C 21214
Attorney Daniel Kiss                         U.S. District Court, Urbana IL
Deposition by Dr. Karl Reich                 March 6, 2015

IL v Demetrious Beal                         Court Docket 12 CF 2382
Attorney Cosmo Tedone                        Will County
Attorney Jeff Tomczak                        continuation of previous hearing
Joliet IL                                    April 28th, 2014
By Dr. Karl Reich

NY v Daniel Ramos                            Court Docket 2013 CR 338372
Attorney Michael Berger                      Nassau County
By Dr. Karl Reich                            May 20, 2015

IN v Freddie Alcantar                        Court Docket 02D05-1401-MR-1
Attorney Michelle Kraus                      Allen County
Fort Wayne IN                                August 24, 2015
By Dr. Karl Reich

IL v Samuel Gayden                           Court Docket 10-CR-18156
Attorney Gina Piemonte                       Cook County
Chicago IL                                   September 9th, 2015
By Dr. Karl Reich

IN v Freddie Alcantar                        Court Docket 02D05-1401-MR-1
Attorney Michelle Kraus                      Allen County
Fort Wayne IN                                October 22, 2015
By Dr. Karl Reich

IL v Stallworth, Miller                      Court Docket 14 CR 426
Attorney A Thedford                          Cook County
Chicago IL                                   December 9, 2015
By Dr. Karl Reich
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COURT & DEPOSITION RECORD, CONT’D

CA v Martin Van Eycke                       Court Docket 13017048 (MCN), 221929 (SCN)
Attorney Diane Knoles                       City and County of San Francisco
San Francisco CA                            December 16th, 2015
By Dr. Karl Reich

SD v Benjamin Thomas                        Court Docket CRI 15.01
Attorney Robin Eich                         Turner County
Parker SD                                   January 13, 2016
By Dr. Karl Reich

IL v Morris Williams                        Court Docket 2013-CF-304
Attorney Jacqueline Lacy                    Vermillion County
Danville IL                                 January 22, 2016
By Dr. Karl Reich

IL v Jerimiah Pinkerman                     Court Docket 2010 CF 1840
Attorney Bernard Ward                       Will County
Joliet IL                                   March 22, 2016
By Dr. Karl Reich

MO v Dane Tillman                           Agency Case # 220113
Attorney Nicholas Swischer                  Dade County
Wheaton IL                                  March 18, 2016
Deposition by Dr. Karl Reich

IA v James Arneson                          Court # FECR350403
Attorney Joe McCarville                     Webster County
Lombard IL                                  March 29, 2016
Deposition by Dr. Karl Reich

IA v James Arneson                          Court # FECR350403
Attorney Joe McCarville                     Webster County
Fort Dodge, IA                              April 07, 2016
By Dr. Karl Reich

Jeron Johnson v Luthera Williams            Probate court, docket unknown
Attorney Michael Zweig                      Cook County
Chicago IL                                  April 11, 2016
By Dr. Karl Reich

SD v Benjamin Thomas                        Court Docket CRI 15.01 (retrial)
Attorney Robin Eich                         Turner County
Parker SD                                   June 2-3, 2016
By Dr. Karl Reich

IL v Adrian Pettis,                         Court Docket 12 CR 18409
Attorney Maria Owens                        Cook County
Chicago IL                                  June 30, 2016
By Dr. Karl Reich
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Karl A. Reich                                                                           Page 9

COURT & DEPOSITION RECORD, CONT’D

IN v R.K. Niemeyer                           Court Docket .02D04-1509-MR-3
Attorney Randy Fisher                        Allen County
Fort Wayne IN                                July 20, 2016
By Dr. Karl Reich

IN v Malcom Wade                             Court Docket 53C02 1411 F3 001042
Attorney Isabella Bravo                      Monroe County
Bloomington IN                               August 3, ,2016 (2)
By Dr. Karl Reich

IL v Edgar Morales                           Court Docket 11 CR 10436
Attorney John Benson                         Cook County
Chicago IL                                   September 1, 2016
By Dr. Karl Reich

NE v Anthony Garcia                          Court Docket CR 13 2311
Attorney Jeremy Jorgenson                    Douglas County
Attorney Robert Motta
Omaha NE                                     October 19, 2016
By Dr. Karl Reich

NJ v Russell Bouse                           Court Docket 10-12-1057-I
Attorney V. Sanzone                          Gloucester County
Woodbury NJ                                  October 27, 2016
By Dr. Karl Reich

IL v Jaime Rodriguez                         Court Docket 13 CR 21500
Attorney Scott Gordon                        Cook County
Skokie, IL                                   December 5, 2016
By Dr. Karl Reich

LaPorta v City of Chicago, et al             Court Docket 14 CV 9665
Attorney Debra Thomas                        U.S. District Court, Northern District
Chicago IL                                   March 21, 2017
Deposition by Dr. Karl Reich

IL v Whalen                                  Court Docket 91 CF 344
Attorney Eliot Slosar                        McLean County
Bloomington IL                               May 5th, 2017
By Dr. Karl Reich

IL v Jorge Torres                            Court Docket 12 CF 127
Attorney Jed Stone                           Lake County
Waukegan IL                                  May 9th, 2017
By Dr. Karl Reich

IL v Kenneth Rhodes                          Court Docket 12 CR 3075
Attorney Christa Petty                       Cook County
Chicago IL                                   May 10th, 2017
By Dr. Karl Reich
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Karl A. Reich                                                                           Page 10

COURT & DEPOSITION RECORD, CONT’D

MD v Lloyd Harris                            Court Docket: 10-K-16-057851 Matter ID: XX-XXXXXXX
Attorney Mathew Frawley                      Frederick County
Frederick MD                                 June 27, 2017
By Dr. Karl Reich

MI v Larry Smith                             Court Docket 16-000534-FC
Larry Smith pro se                           Berrien County
Attny Richard Sammis
By Dr. Karl Reich                            July 14th, 2017

Cole v Meeks et al                           Court Docket 15-CV-01292
Attorney Douglas Johnson                     U.S. District Court, Peoria Division
Downers Grove IL                             August 7th, 2017
Deposition by Dr. Karl Reich

LaPorta v City of Chicago, et al             Court Docket 14-Cv-9665
Attorney Bruno Marasso                       U.S. District Court, Northern District
Chicago IL                                   October 12, 2017
By Dr. Karl Reich

MD v. Lloyd Arbard Harris                    Case No: 10-K-16-057851
Attorney Mathew Frawley                      District Court, Frederick County
Frederick MD                                 October 30, 2017
By Dr. Karl Reich

IL v Drew Terrell                            Court Docket 85 CR 10757
Attorney Dan Coyne                           Cook County
Chicago IL                                   November 29, 2017
By Dr. Karl Reich

MI v Jason Garlow                            Court Case 2017-264384-FH
Attorney Matthew Crandall                    District Court, Oakland County,
Pontiac MI                                   December 6, 2017
By Dr. Karl Reich

IL v Hallom                                  Court Case 13 CR 12983
Attorney Christa Petty                       Cook County
Chicago IL                                   March 9, 2018
By Dr. Karl Reich

MI v Jason Garlow                            Court Case 2017-264384-FH
Attorney Matthew Crandall                    District Court, Oakland County,
Pontiac MI                                   April 11, 2018 (retrial)
By Dr. Karl Reich

IN v Stinemetz                               Court Case 25C01-1511-MR-000569
Attorney Brad Rozzi                          District Court, Fulton County
Rochester IN                                 May 3, 2018
By Dr. Karl Reich
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Karl A. Reich                                                                       Page 11

COURT & DEPOSITION RECORD, CONT’D

IN v Ivory                                               Court Case No. 71D02-1701-MR-000001
Attorney Vincent Campiti                                 St. Joseph County
South Bend IN                                            August 7, 2018
By Dr. Karl Reich

People v. Brandon Starks                                 Case# 10 CR 3064, 10 CR 4408
Attorney Christa Petty, Gina Piemonte                    Cook County
Chicago IL                                               October 25th, 2018
By Dr. Karl Reich

People v Gary Blakley                                    Court Case 12 CR 5684-01
Attorney Michael Johnson                                 Cook County
Chicago IL                                               November 16, 2018
By Dr. Karl Reich

IL v Whalen                                              Court Docket 91 CF 344
Attorney Tara Thompson                                   McLean County
Bloomington IL                                           February 12, 2019
By Dr. Karl Reich

IL v Kenneth Williams                                    Court Docket 16CF539
pro se                                                   Champaign County
Urbana IL                                                February 14th, 2019
By Dr. Karl Reich

KY v David Dooley                                        Court Docket 12 CR 00622
Attorney Jeff Lawson                                     Boone County
Florence KY                                              March 08, 2019
By Dr. Karl Reich

MD v Daniel Gross                                        Court Docket 128021C, CR# 15-034375
Attorney Tom Pavlinic                                    Montgomery County
Rockville MD                                             April 12, 2019
By Dr. Karl Reich

IL Dept of Financial & Professional Regulation           No. 2018-02807
Attorney James Goldberg                                  Cook County IL
Chicago IL                                               May 30, 2019
By Dr. Karl Reich

IL v Angel Rodriguez                                     No. 99 CR 24480
Attorney Russell Ainsworth                               Cook County IL
Chicago IL                                               August 6th, 2019
By Dr. Karl Reich

IL v William Webb                                        No. 16 CF 318
pro se defendant                                         LaSalle County IL
Ottawa IL                                                October 23, 2019
By Dr. Karl Reich
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IL v Dwight Beck                                          No. 17 CR 5422
Attorney Charles Pinkston                                 Cook County
Markham IL                                                October 24, 2019
By Dr. Karl Reich

USA v Isaac N. Gibbons                                    Criminal Case 1:18-cr-454
Attorney Edward MacMahon                                  US District Court, Eastern Virginia
Attorney David Benowitz
Alexandria VA                                             November 13, 2019
By Dr. Karl Reich

Andersen v City of Chicago, et al.,                       16 CV 1963
Attorney Heather Donnell                                  U.S. District Court, Northern Division IL
Chicago IL                                                December 5, 2019
By Dr. Karl Reich

MD v Keith Davis, Jr.,                                    Case No. 116009001
Attorney Deborah Levi
Attorney Andrew Northrup                                  Baltimore County
Baltimore MD                                              February 28th, 2020
By Dr. Karl Reich

IL v. Joshua Mecum                                        Case No. 18 CF 364
Attorney Joseph Parisi                                    Kankakee County
Kankakee IL                                               June 10, 2020
By. Dr. Karl Reich

IL v Bryan Stahl                                          Case no 18 CF 768
Attorney P. Prossnitz                                     McHenry County
Woodstock IL                                              June 22, 2020
By Dr. Karl Reich

IN v Mark Brady                                           Case 32D04-1706-F3-000027
Attorney Annie Fierek                                     Hendricks County
Danville IN                                               September 17, 2020
By Dr. Karl Reich

IL v Jamal Drane                                          Court Case 18 CF 944.
Attorney Michael Kereluk                                  Kane County
St. Charles IL                                            September 29th, 2020
By Dr. Karl Reich

IN v Winston Corbett                                      Court Case 20C01-1811-MR-000004
Attorney Peter Britton                                    Elkhart County
Goshen, IN                                                November 10th, 2020
By Dr. Karl Reich

William Virgil v. City of Newport,                        No. 16-CV-224
Attorney Elliot Slosar, Molly Campbell                    Eastern District of Kentucky
Lombard IL / Newport KY (via video)
Deposition by Dr. Karl Reich
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IN v Brent Taylor                                         Court Case 02D05-1905-F1-10
Attorney G.L. Fumarolo                                    Allen County
Lombard IL / Fort Wayne IN (via video)                    February 19, 2021
Deposition by Dr. Karl Reich

ME v Jeffrey Williams                                     Court Case Yor-10-578
Attorney R.C. Andrews                                     Cumberland County
Lombard IL / Portland ME (via video)                      February 22, 2021
Deposition by Dr. Karl Reich

IN v Brent Taylor                                         Court Case 02D05-1905-F1-10
Attorney G.L. Fumarolo                                    Allen County
Fort Wayne IN                                             March 11, 2021
By Dr. Karl Reich

IL v Carlos Menodoza                                      Court Case 2019 CF 000113
Attorney Raul Villalobos                                  Champaign IL
Urbana IL                                                 April 21, 2021
By Dr. Karl Reich

NM v Jerry Espinoza                                       Court Docket D-809-CR-2020-00140
Attorney B. Mondragon                                     Colfax
Raton NM                                                  April 28, 2021
By Dr. Karl Reich

Andersen v City of Chicago, et al.,                       16 CV 1963
Attorney Heather Donnell                                  U.S. District Court, Northern Division IL
Chicago IL                                                May 28, 2021
By Dr. Karl Reich

MN v T. Palodichuk                                        Court Case 02CR195135
Attorneys T. Dust, D. Nemer                               Anoka County
Anoka MN                                                  June 17, 2021
By Dr. Karl Reich

MN v T. Palodichuk                                        Court Case 02CR195135
Attorneys T. Dust, D. Nemer                               Anoka County
Anoka MN                                                  June 21, 2021
By Dr. Karl Reich

MD v William Andrew Wright, Jr.                           Court Case 118346020
Attorney Shannon Heery                                    Baltimore County
Baltimore MD                                              July 19, 2021
By Dr. Karl Reich

MD v Anthony D’Angelo Wilkins                             Matter ID 08-K-17-000241
Attorney Tanya Kappor                                     Charles County
La Plata MD                                               July 23. 2021
By Dr. Karl Reich
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COURT & DEPOSITION RECORD, CONT’D

IA v Sir Frank William Nelson III                         Court Case FECR236187
Attorney Kathryn Mahoney                                  Black Hawk County
Waterloo IA                                               September 16th, 2021
By Dr. Karl Reich

MD v Tyrone Harvin                                        Court Case XX-XXXXXXX
Attny Molly Ryan                                          Baltimore County
Baltimore MD                                              October 13, 2021
By Dr. Karl Reich

MD v A.M.Muldrow                                          Court Case C03CR19000763
Attny Elizabeth Crow                                      Baltimore County
Towson MD                                                 October 27, 2021
By Dr. Karl Reich

IL v Marquiese Talley                                     Court Docket 20CF425, 20CF426,
Attny Steve Muslin                                        Peoria County
Peoria IL                                                 December 1, 2021
By Dr. Karl Reich

U.S. v Nashiri                                            Military Commission
Attny K. Carmon                                           U.S. Naval Base
Guantanamo Bay, Cuba                                      December 08, 2021
By Dr. Karl Reich

U.S. v Nashiri                                            Military Commission
Attny K. Carmon                                           U.S. Naval Base
Guantanamo Bay, Cuba                                      December 09, 2021
By Dr. Karl Reich

Shaw (Granton) v. City of Chicago et al.                  Court Docket, 18-L-8034
Attny Bryce Hensley                                       Cook County
Lombard, IL                                               December 28th, 2021
Deposition by Dr. Karl Reich

IL v McGuire, Jr.,                                        Court Docket 2016 CF 2515
Attny Eric Pittman, J.P. Ivec                             Will County
Joliet IL                                                 January 10, 2022
By Dr. Karl Reich

IN v Sorgdrager                                           Court Docket 02D06-1905-F1-000009
Attny R. Gevers                                           Allen County
Fort Wayne, IN                                            March 2, 2022
By. Dr. Karl Reich

MD v Cazanga                                              Court Docket C-08-CR-20-000357
Attny A. Northrup                                         Charles County
Video testimony, La Plata                                 March 28, 2022
By Dr. Karl Reich
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COURT & DEPOSITION RECORD, CONT’D

MD v J.L.Sherriff                                           Court Docket C-18-CR-19-000202
Attny T. Pavlinic                                           St. Mary's County
Video testimony, Leonardstown                               May 9, 2022
By Dr. Karl Reich

MI v Arrington                                              Court Docket 18-06706
Attny. J. Sartz                                             Ingham County
Lansing MI                                                  May 17, 2022
By Dr. Karl Reich

WI v A. Anderson                                            Court Docket 20CF238
Attny N. Davis                                              Barron County
Video testimony, Barron                                     May 24, 2022
By Dr. Karl Reich

WI v J. Noblin                                              Court Docket 2019CF002482
Attny. K. Watson                                            Milwaukee County
Milwaukee WI                                                June 02, 2022
By Dr. Karl Reich

MD v. T. Harvin                                             Court Docket XX-XXXXXXX
Attny M. Ryan                                               Baltimore County
Baltimore MD                                                June 27, 2022
By Dr. Karl Reich

IL v C,. Guaderrama,                                        Court Docket 20 CR 04846
Attny A. Peraica                                            Cook County
Chicago IL                                                  July 20, 2022
By Dr. Karl Reich

IN v B. Benfer                                              Court Docket 35C01-2104-F3-000133
Attny K. Perry, A. Baldwin                                  Huntington County
Huntington IN                                               August 11, 2022
By Dr. Karl Reich

IL v K. Williams                                            Court Docket 16CF539
pro se                                                      Champaign County
Urbana IL                                                   August 24, 2022
By Dr. Karl Reich

IL v T. Clopton                                             Court Docket 21-CF-03
Attny B. Gullberg                                           Henderson County
Oquawka IL                                                  September 12, 2022
By Dr. Karl Reich

MI v Mr. Robert Reed [James Edwards]                        Court Docket 19-008049-01-FC
pro se (backup counsel, R. Nelson)                          Wayne County MI
Detroit MI                                                  September 21, 2022
By. Dr. Karl Reich
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MI v M. Lyon                                                Court Docket 19-000713-FC
Attny Keith Watson                                          Ingham County
Lansing MI                                                  September 22, 2022
By Dr. Karl Reich

MD v K. Cobey                                               Court Docket 40399C, 42227C
Attny Molly Ryan                                            Montgomery County
Rockville MD                                                September 23, 2022
By Dr. Karl Reich

Reyes/Solache v City Chicago et al                          Court Docket 1:18 Civ.1028 | 1:18 Civ.2312
Attny Sean Starr                                            Northern District Illinois
Chicago IL                                                  October 14, 2022
Deposition by. Dr. Karl Reich

MD v Marshall, M.J.                                         Court Docket #17-206
Attny J. Brown, L. Romero                                   Prince George County
Upper Marboro MD                                            October 26, 2022
By Dr. Karl Reich

Liggins v et al                                             Court Docket 20 CV 4085
Attny Russell Ainsworth                                     Northern District Illinois
Chicago IL                                                  November 10, 2022
Deposition by Dr. Karl Reich

Smith v et al                                               Court Docket 21-CV-1159
Attny Ariel Olstein                                         Northern District Illinois
Chicago IL                                                  November 11, 2022
Deposition by Dr. Karl Reich

WI v Frost                                                  Court Docket 93CF74
Attny Cole Ruby                                             Woods County WI
Wisconsin Rapids                                            November 15, 2022
By Dr. Karl Reich

Commonwealth v T. Rosa                                      Court Docket 8684CR57351-53
Attny R. Natarajan, C. Whitmore                             Suffolk County MA
Boston                                                      November 18, 2022
By Dr. Karl Reich

IL v C. Houlden                                             Court Docket 16-Cr-4687
Attny I. Federman, L. Federman                              Cook County IL
Markham                                                     December 15, 2022
By Dr. Karl Reich

NM v V. Gonzales                                            Court Docket D-202-CR-2020-1209
Attny R. Maestas                                            Bernalillo County New Mexico
Video testimony, Albuquerque NM                             December 15, 2022
By Dr. Karl Reich
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Karl A. Reich                                                                           Page 17

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IN v. John Brickley                                         Court Docket 49D21-2010-F3-032241
Attny K. Perry                                              Marion County IN
Deposition                                                  January 25, 2023
By Dr. Karl Reich

IL v J. Bevely                                              Court Docket 2020-CF-596
Attny T. Thien                                              Williamson County IL
Marion IL                                                   February 10, 2023
By Dr. Karl Reich

IN v A. Cordova                                             Court Docket 29D02-2106-F3-003298
Attny K. Perry                                              Hamilton County IN
Deposition                                                  February 23, 2023
By Dr. Karl Reich

Simmer v et al                                              Court Docket 2:21 CV 100
Attny D. Owens                                              Western District, Washington
Deposition                                                  February 24, 2023
By Dr. Karl Reich

FL v Hairston                                               Court Docket 2021-CF-8312
Attny J. Dreicer, S. Day                                    Duval County
Jacksonville FL                                             March 02, 2023
By Dr. Karl Reichas

IN v C. Williams                                            Court Docket 33C02-1811-F1-000004
Attny. M. Nicholson                                         Henry County IN
New Castle IN                                               March 09, 2023
By Dr. Karl Reich

IL v Calhoun                                                Court Docket 20 CR 5599
Attny B. Donald-Kyei                                        Cook County IL
Chicago IL                                                  March 10, 2023
By Dr. Karl Reich

IL v D. Davidson                                            Court Docket 19CF2741
Attny Renee Amen                                            Lake County IL
Waukegan IL                                                 May 3, 2023
By Dr. Karl Reich

MI v J. Emmendorfer                                         Court Docket 2020-2480-FC
Attny Anastase Markou                                       Kalamazoo County
Kalamazoo MI                                                May 4th, 2023
By Dr. Karl Reich
